12-12020-mg          Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                E Pg 1 of 43



 VII. REVIEW AND ANALYSIS OF ESTATE CAUSES OF ACTION IMPLICATED
 BY AFFILIATE TRANSACTIONS AND THE RELATIONSHIP AND COURSE OF
 DEALING AMONG RESCAP, AFI, ALLY BANK, AND CERBERUS

 E. CAUSES OF ACTION AGAINST RESCAP’S DIRECTORS AND OFFICERS

      ResCap faced increasingly challenging financial circumstances over time, and confronted a
 tangled relationship with AFI dating from execution of the 2005 Operating Agreement. ResCap
 fiduciaries often operated under stressful and harried conditions, and the protocol, processes,
 and functioning of the ResCap Board were not always optimal. Yet there exist only a few
 potentially actionable claims with respect to breaches of fiduciary duties by ResCap’s directors
 and officers. Certain potential claims for breaches of duties by ResCap fiduciaries will be
 discussed below, following a recitation of general legal principles relevant to those claims.1 For
 discussion of fiduciary duty claims related to the parties’ tax transactions, see Section VII.K.

      1. General Legal Principles Governing Potential Fiduciary Duty Claims

               a. Delaware Law Applies To Breach Of Fiduciary Duty Claims

       Bankruptcy courts generally apply state choice-of-law rules.2 Courts within the Second
 Circuit follow the “internal affairs doctrine,” which states that “questions relating to the
 internal affairs of corporations are decided in accordance with the law of the place of
 incorporation.”3 This doctrine applies to breach of fiduciary duty claims.4 Accordingly,
 Delaware law will apply to a plaintiff’s breach of fiduciary duty claims against ResCap’s
 directors and officers, because ResCap was incorporated in Delaware, and is now a limited
 liability company formed pursuant to the Delaware Limited Liability Company Act.5 By
 initially incorporating in Delaware and later becoming a Delaware limited liability company,
 ResCap submitted to application of Delaware law to the governance of its internal affairs,
 including with respect to the fiduciary duties owed by its directors and officers.
 1   Other types of claims grounded upon the same sets of facts as those underlying potential fiduciary duty claims
     (such as possible contractual violations of the Operating Agreements) are discussed elsewhere in Section VII.
 2   See Stanek Corp. v. Dev. Specialists, Inc. (In re Coudert Bros. LLP), 673 F.3d 180, 186 (2d Cir. 2012).
 3   Scottish Air Int’l, Inc. v. British Caledonian Group, PLC, 81 F.3d 1224, 1234 (2d Cir. 1996); KDW
     Restructuring & Liquidation Servs. LLC v. Greenfield, 874 F. Supp. 2d 213, 221, (S.D.N.Y. June 12, 2012)
     (“New York courts decide questions relating to corporate internal affairs ‘in accordance with the law of the
     place of incorporation.’”); Official Comm. of Unsecured Creditors of Hydrogen, L.L.C. v. Blomen (In re
     Hydrogen, L.L.C.), 431 B.R. 337, 346–47 (Bankr. S.D.N.Y. 2010); see also Brandt v. Hicks, Muse & Co., Inc.
     (In re Healthco Int’l, Inc.), 208 B.R. 288, 300 n.18 (Bankr. D. Mass. 1997).
 4   The doctrine also applies in the limited liability company context. See In re Hydrogen, L.L.C., 431 B.R. at
     347; Ritchie Capital Mgmt. L.L.C. v. Coventry First LLC, No. 07 Civ. 3494, 2007 WL 2044656, at *4
     (S.D.N.Y. July 17, 2007).
 5   See e.g., KDW Restructuring, 874 F. Supp. at 221, (“Jennifer is a Delaware corporation; therefore, Delaware
     law governs this breach of fiduciary duty claim.”); In re Hydrogen, L.L.C., 431 B.R. at 346–47; Marino v.
     Grupo Mundial Tenedora, S.A., 810 F. Supp. 2d 601, 606–07 (S.D.N.Y. 2011); Kipperman v. Onex Corp.,
     411 B.R. 805, 867 n.35 (N.D. Ga. 2009) (“The parties agree, and the Court has already concluded, that
     Delaware law applies to Plaintiff’s breach of fiduciary duty claim based on the ‘internal affairs doctrine.’”).

                                                       VII.E-1
12-12020-mg           Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                 E Pg 2 of 43




      ResCap became an LLC on October 24, 2006. GMAC Mortgage Group LLC was the sole
 member of ResCap LLC, and the sole member of GMAC Mortgage Group LLC was AFI.6
 The 2006 ResCap LLC Agreement did not materially modify, limit, or eliminate any default
 fiduciary duties.7 Accordingly, as discussed below, the members of the ResCap Board, as the
 managers of the LLC,8 continued to owe the traditional duties that fiduciaries owe a
 corporation.9
                 b. Legal Standards For Fiduciary Duty Claims
      Under Delaware law, fiduciary duties are owed by directors, officers, and controlling
 shareholders.10 In general, fiduciary duties consist of the (1) duty of due care, and (2) duty of
 loyalty and good faith.11 In order to prevail on a claim of breach of fiduciary duty under
 Delaware law, a plaintiff must prove “(i) that a fiduciary duty exists; and (ii) that a fiduciary
 breached that duty.”12
                     (1) Fiduciaries Owe A Duty Of Due Care
      When a fiduciary exercises discretionary authority by making a business decision on
 behalf of a corporation, the fiduciary must do so with due care. The duty of care focuses on
 the decision-making process, and requires that a fiduciary be informed of all material
 information reasonably available before making a business decision.13
      A party can state a claim for a breach of the duty of care by alleging that fiduciaries
 failed to exercise due care in informing themselves before approving a certain transaction. A
 successful claim for breach of the duty of care must prove conduct that reaches the level of
 “gross negligence,” which requires showing that fiduciaries acted with so little information
 that their decision was unintelligible and unadvised or outside the bounds of reason and
 reckless.14 Although fiduciaries may argue that they could not have acted with gross
 6    See Section III.E.6.
 7    See 2006 ResCap LLC Agreement, at 1 [ALLY_0255865].
 8    Id. at § 14.
 9    See In re Atlas Energy Res. LLC, C.A. No. 4589-VCN, 2010 WL 4273122, at *6 (Del. Ch. Oct. 28, 2010)
      (“[I]n the absence of explicit provisions in an [LLC] agreement to the contrary, the traditional fiduciary duties
      owed by corporate directors . . . apply in the [LLC] context.”);
 10   See In re Hechinger Inv. Co., 274 B.R. at 93; Harris v. Carter, 582 A.2d 222, 234 (Del. Ch. 1990).
 11   See McMullin v. Beran, 765 A.2d 910, 917 (Del. 2000); Malone v. Brincat, 722 A.2d 5, 10 (Del. 1998); see also
      Buckley v. O’Hanlon, No. 04-955GMS, 2007 WL 956947, at *3 (D. Del. Mar. 28, 2007); Official Comm. of Unsecured
      Creditors of Fedders N. Am. v. Goldman Sachs Credit Partners L.P., (In re Fedders N. Am., Inc.), 405 B.R. 527, 539
      (Bankr. D. Del. 2009).
 12   Legatski v. Bethany Forest Assoc., Inc., No. 03C-10-011, 2006 WL 1229689, at *3 (Del. Super. Ct. Apr. 28,
      2006); Estate of Eller v. Bartron, 31 A.3d 895, 897 (Del. 2011) (citing Heller v. Kiernan, No. 1484-K, 2002
      WL 385545, at *3 (Del. Ch. Feb. 27, 2002)); KDW Restructuring, 74 F. Supp. 2d at 221.
 13   See In re Healthco Int’l, Inc., 208 B.R. at 305.
 14   “Gross negligence has a ‘stringent meaning’ in Delaware corporate law, involving ‘indifference amounting to
      recklessness.’” KDW Restructuring, 874 F. Supp. 2d at 221 (citing Disney II, 906 A.2d at 67).

                                                         VII.E-2
12-12020-mg           Doc 3698-24           Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                  E Pg 3 of 43




 negligence because they relied on the advice of experts, it may be possible to overcome such
 defense by alleging that the fiduciaries did not consider certain information “so obvious that
 [their] failure to consider it was grossly negligent regardless of the expert’s advice or lack of
 advice.”15
      The gravity of a business decision is relevant when determining whether the duty of due
 care has been breached:
                     The more significant the subject matter of the decision, the
                     greater is the requirement to probe and consider alternatives. For
                     example, when the decision is to sell the company or to engage
                     in a recapitalization that will change control of the firm, the
                     gravity of the transaction places a special burden on the
                     directors to make sure they have a basis for an informed view.16
 A director will thus have heightened duties where approval of a transaction results in a sale or
 change of control.17 In such circumstances, the directors have a duty to maximize value.18
                     (2) Fiduciaries Owe A Duty Of Loyalty And Good Faith
     Fiduciaries also owe a duty of loyalty and good faith. Delaware courts generally treat
 good faith as encompassed within the duty of loyalty rather than as a fully discrete duty.19
                          (a) Duty Of Loyalty
      The duty of loyalty requires, among other things, that a fiduciary not put his or her
 personal financial interests above the interests of the corporation.20 A fiduciary may have
 breached his duty of loyalty if the fiduciary (1) was on both sides of a transaction, or (2) the
 fiduciary derived a personal financial benefit by self-dealing.21
 15   Brehm v. Eisner, 746 A.2d 244, 262 (Del. 2000) (“Disney I”); see also Cal. Pub. Employees’ Ret. Sys. v.
      Coulter, 2002 WL 31888343, at *12 (Del. Ch. Dec. 18, 2002) (director’s reliance on expert valuation report
      when approving acquisition was “grossly negligent” where “[e]ither the [directors] knew the report was based
      on grossly inaccurate data . . . or they worked very hard not to know that information”).
 16   In re Healthco Int’l, Inc., 208 B.R. at 305.
 17   See Revlon, Inc. v. MacAndrews & Forbes Holdings, Inc., 506 A.2d 173 (Del. 1986).
 18   Id. at 182 (noting that the duty of the board had changed from the preservation of Revlon as a corporate entity
      to maximization of the company’s value at a sale for stockholders’ benefit); see also Lyondell Chem. Co. v.
      Ryan, No. 401, 2008, 2009 WL 1024764, at *3 (Del. Supr. March 15, 2009).
 19   See, e.g., Nagy v. Bistricer, 770 A.2d 43, 49 n.2 (Del. Ch. 2000) (“If it is useful at all as an independent
      concept, the good faith iteration’s utility may rest in its constant reminder (1) that a fiduciary may act
      disloyally for a variety of reasons other than personal pecuniary interest; and (2) that, regardless of his motive,
      a director who consciously disregards his duties to the corporation and its stockholders may suffer a personal
      judgment for monetary damages for any harm he causes.”).
 20   In re Healthco Int’l, Inc., 208 B.R. at 302.
 21   See Liquidation Trust of Hechinger Inv. Co. of Del., Inc. v. Fleet Retail Fin. Group (In re Hechinger Inv. Co.),
      327 B.R. 537, 549 (D. Del. 2005), aff’d, 278 F.3d Appx. 125 (3d Cir. 2008).

                                                         VII.E-3
12-12020-mg           Doc 3698-24            Filed 05/13/13 Entered 05/13/13 17:08:13                  Section VII
                                                   E Pg 4 of 43




      A plaintiff can state a claim for a breach of the duty of loyalty by alleging that the
 directors were “interested or lack[ed] independence relative to the [approval of the
 transaction].”22 If a fiduciary is an interested actor (i.e., has some kind of self-interest in the
 transaction) and is accused of breaching his or her duty of loyalty, the fiduciary will be liable
 unless (1) the fiduciary disclosed the self-interest, and (2) a majority of disinterested directors
 approved the transaction.23

      In determining whether the duty of loyalty has been breached in the parent-subsidiary
 context, “[t]he parent/subsidiary cases have provided courts with difficult issues in defining
 whether self-dealing exists.”24 The directors of a subsidiary owe a fiduciary duty to the parent,
 as either the sole shareholder (in the context of a wholly owned subsidiary) or majority
 shareholder.25 When self-dealing occurs between a parent and subsidiary, the business
 judgment rule, which provides great deference to the business decisions of directors (as
 discussed below), may not apply: “When the situation involves a parent and a subsidiary, with
 the parent controlling the transaction and fixing the terms, the test of intrinsic fairness, with its
 resulting shifting of the burden of proof, is applied.”26

         However, the intrinsic fairness standard will not apply to all parent-subsidiary dealings:

                     [P]arent-subsidiary dealings . . . alone will not evoke the
                     intrinsic fairness standard. This standard will be applied only
                     when the fiduciary duty is accompanied by self-dealing—the
                     situation when a parent is on both sides of a transaction with its
                     subsidiary. Self-dealing occurs when the parent, by virtue of its
                     domination of the subsidiary, causes the subsidiary to act in such
                     a way that the parent receives something from the subsidiary to
                     the exclusion of, and detriment to, the minority stockholders of
                     the subsidiary.27

 If the intrinsic fairness test applies, the burden of proof shifts to the defendant “to prove,
 subject to careful judicial scrutiny, that its transactions with [the subsidiary] were objectively
 fair.”28
 22   Disney I, 746 A.2d at 264 n.66.
 23   In re Healthco Int’l, Inc., 208 B.R. at 303.
 24   1 F. HODGE O’NEAL AND ROBERT B. THOMPSON, OPPRESSION OF MINORITY SHAREHOLDERS AND LLC
      MEMBERS § 3:24 (1st ed. 2004).
 25   See ASARCO LLC v. Ams. Mining Corp., 396 B.R. 278, 395 (S.D. Tex. 2008).
 26   Sinclair Oil Corp. v. Levien, 280 A.2d 717, 720 (Del. 1971); see also Trans World Airlines, Inc. v. Summa
      Corp., 374 A.2d 5 (Del. Ch. 1977) (parent had engaged in self-dealing when subsidiary was not allowed to
      purchase its own jet aircraft, while parent was able to lease its own newly acquired aircraft to subsidiary at
      profit).
 27   Sinclair Oil Corp., 280 A.2d at 720 (emphasis added); see also Matsumura v. Benihana Nat. Corp., 2010 WL
      882968, at *10 n.25 (S.D.N.Y. Mar. 5, 2010).
 28   Sinclair Oil Corp., 280 A.2d at 720.

                                                       VII.E-4
12-12020-mg             Doc 3698-24       Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                E Pg 5 of 43




       The duty of loyalty subsumes within it a corollary duty of disclosure and candor.
 “Delaware courts have long held that a certain duty to disclose inheres in the duty of
 loyalty.”29 Directors “ha[ve] an ‘unremitting obligation’ to deal candidly with their fellow
 directors.”30 Officers have a duty to inform directors of information material to a corporation’s
 affairs:
                       The duty of an officer includes the obligation to inform the
                       superior officer to whom, or the board of directors or the
                       committee thereof to which, the officer reports of information
                       about the affairs of the corporation known to the officer, within
                       the scope of the officer’s functions, and known to the officer to
                       be material to such superior officer, board, or committee . . . .31
 This duty of disclosure flowing from management is required as “a board of directors could
 not function without the information provided to it by senior officers.”32 “At a minimum, this
 rule dictates that fiduciaries . . . may not use superior information or knowledge to mislead
 others in the performance of their own fiduciary obligations. The actions of those who join in
 such misconduct are equally tainted.”33
         Yet a fiduciary’s duty to disclose is not unlimited:
                       [A duty to disclose] is not a general duty to disclose everything
                       the director knows about transactions in which the corporation is
                       involved . . . . Rather, it is [t]he intentional failure or refusal of a
                       director to disclose to the board a defalcation or scheme to
                       defraud the corporation of which he has learned, [which] itself
                       constitutes a wrong.34
 Further, the duty to disclose has generally been confined to certain circumstances. In Big Lots
 Stores, Inc. v. Bain Capital Fund VII, LLC, the Delaware Chancery Court explained: “[T]he
 29   Big Lots Stores, Inc. v. Bain Capital Fund VII, LLC, 922 A.2d 1169, 1184 (Del. Ch. 2006); see also Eurofins
      Pharma US Holdings v. BioAlliance Pharma SA, 623 F.3d 147, 158 (3d Cir. 2010).
 30   HMG/Courtland Properties, Inc. v. Gray, 749 A.2d 94, 119 (Del. Ch. 1999) (citing Mills Acquisition Co. v.
      Macmillan, Inc., 559 A.2d 1261, 1283 (Del. 1989)).
 31   Hampshire Group, Ltd. V. Kuttner, C.A. No. 3607-VCS 2010 WL 2739995, at *13 n.85 (Del. Ch. July 12,
      2010); see also Megan Wischmeier Shaner, Restoring The Balance Of Power In Corporate Management:
      Enforcing An Officer’s Duty Of Obedience, 66 BUS. L.J. 27, 47 (2010) (“Shaner”) (“In fact, in the context of
      the duty to disclose information to the board, the Delaware courts have found officers to occupy roles similar
      to those of agents of the corporation.”).
 32   Shaner at 226.
 33   Mills Acquisition Co. v. Macmillan, Inc., 559 A.2d 1261, 1283 (Del. 1989).
 34   Eurofins Pharma US Holdings v. BioAlliance Pharma SA, 623 F.3d 147, 158 (3d Cir. 2010) (citing Big Lots
      Stores, Inc. v. Bain Capital Fund VII, LLC, 922 A.2d 1169, 1184 (Del. Ch. 2006)); Big Lots Stores, Inc. v.
      Bain Capital Fund VII, LLC, 922 A.2d 1169, 1184 (Del. Ch. 2006); Thorpe v. CERBCO, Inc., 676 A.2d 436
      (Del.1996) (finding a duty to disclose where controlling shareholders and directors failed to tell disinterested
      directors of an offer to buy the company and instead arranged to sell their own shares only).

                                                        VII.E-5
12-12020-mg           Doc 3698-24         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                                E Pg 6 of 43




 director disclosure cases decided in Delaware courts have implicated circumstances in which
 the director is personally engaged in transactions harmful to the corporation, but beneficial to
 the director.”35 Accordingly, “[d]irector disclosure cases are thus typically characterized at
 least in part by an element of self-dealing on the part of the director.”36
       Cases in which lack of disclosure has led to a finding of breach of fiduciary duty,
 therefore, have generally involved defendants who obtained a personal benefit at the expense
 of the company they served. For example, in Hollinger International v. Black, the court found
 that the controlling shareholder (also a director) breached his fiduciary duties when he did not
 disclose “that he was ‘shopping’ the company in violation of a signed contract that forbade
 him to do so.”37 The court emphasized that the fiduciary breached his duty by “diverting [a
 strategic] opportunity to himself . . . [and] improperly using confidential information
 belonging to [the company] to advance his own personal interests and not those of [the
 company], without authorization from his fellow directors.”38
      The court in Thorpe v. CERBCO, Inc. reached a similar conclusion, finding that two
 controlling shareholders and directors had a duty to disclose to disinterested directors an offer
 to buy the company, where they instead arranged with the bidder to sell their own shares only,
 benefiting themselves and potentially injuring the company.39 Likewise, in Mills Acquisition
 Co. v. Macmillan, certain officers and directors breached their fiduciary duties, and stood to
 profit personally from their misconduct, where they leaked a bid to a potential buyer without
 informing the board. The court reasoned that “[g]iven the materiality of these tips, and the
 silence of [the defendant fiduciaries] in the face of their rigorous affirmative duty of disclosure
 at the . . . board meeting, there can be no dispute but that such silence was misleading and
 deceptive. In short, it was a fraud upon the board.”40
      Proof of damages is generally not required to demonstrate a breach of the duty of
 loyalty.41 In Shocking Technologies, Inc. v. Michael, the court held that “damages constitute
 35   Big Lots Stores, Inc. v. Bain Capital Fund VII, LLC, 922 A.2d 1169, 1184 (Del. Ch. 2006) (applying Ohio law
      to the claims but referring to Delaware law for guidance).
 36   In re PMTS Liquidating Corp., 452 B.R. 498, 509 n.3 (Bankr. D. Del. 2011).
 37   Big Lots Stores, Inc. v. Bain Capital Fund VII, LLC, 922 A.2d 1169, 1184 (Del. Ch. 2006) (citing Hollinger
      International v. Black, 844 A.2d 1022, 1061 (Del. Ch. 2004)); see also Eurofins Pharma US Holdings v.
      BioAlliance Pharma SA, 623 F.3d 147, 159 (3d Cir. 2010); Int’l Equity Capital Growth Fund v. Clegg, No.
      Civ.A. 1499 5, 1997 WL 208955, at *5–6, (Del. Ch. Apr. 22, 1997) (finding duty to disclose where an
      interested director induced board to purchase manufacturing plant that he knew, at time of purchase,
      manufactured “poor quality” defective products).
 38   Hollinger International v. Black, 844 A.2d 1022, 1061-62 (Del. Ch. 2004).
 39   Thorpe v. CERBCO, Inc, 676 A.2d 436 (Del. 1996).
 40   Mills Acquisition Co. v. Macmillan, Inc., 559 A.2d 1261, 1283 (Del. 1989).
 41   In re Fuqua Industries, Inc., No. Civ.A. 11974, 2005 WL 1138744, at *6 (Del. Ch. May 6, 2005) (“[I]n cases
      of the breach of the duty of loyalty, the plaintiff need not prove damages to establish a breach of that duty”);
      Cline v. Grelock, C.A. No. 404C-VCN, 2010 WL 761142, at *3 (Del. Ch. Mar. 2, 2010) (costs of actions were
      assessed against defendant for breach of fiduciary duty even though plaintiff was unable to show harm or
      damages).

                                                        VII.E-6
12-12020-mg            Doc 3698-24        Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                                E Pg 7 of 43




 an element of the tort,” yet it went on to state that “a breach of the fiduciary duty of loyalty
 may be shown without proof of proximate damages.”42 As noted in Thorpe, a duty of loyalty
 breach “loosen[s] the stringent requirements of causation and damages.”43

                         (b) Duty Of Good Faith

      In order to state a claim for breach of the duty of good faith, “a subsidiary element of the
 duty of loyalty,” a plaintiff must demonstrate one of three actions:

                      1) [W]here the fiduciary intentionally acts with a purpose other
                      than that of advancing the best interests of the corporation; 2)
                      where the fiduciary acts with the intent to violate applicable
                      positive law; or 3) where the fiduciary intentionally fails to act
                      in the face of a known duty to act, demonstrating a conscious
                      disregard for his duties.44

 “Bad faith” conduct has been defined as an “intentional dereliction of duty, a conscious
 disregard for one’s responsibilities.”45 For example, fiduciaries can act in bad faith by
 approving a transaction in “conscious disregard of their duties.”46 In the event that a plaintiff
 successfully alleges such conduct, the burden would shift to the fiduciaries to “demonstrate
 that the challenged act or transaction was entirely fair to the corporation and its
 shareholders.”47

                   c. Fiduciary Duty Breaches May Be Continuing In Nature

      A breach of fiduciary duty can potentially be protracted in duration. The “continuing
 wrong” doctrine can toll the pertinent statute of limitations for a breach of fiduciary duty
 claim that is premised on recurring misconduct. For example, in Kaymakcian v. Board of
 Managers of Charles House Condominium, the court held that a condominium board’s failure
 to repair the terrace of an apartment was a continuing wrong that was not “referable
 exclusively to the day the original wrong was committed,” because “pursuant to the



 42   Shocking Techs., Inc. v. Michael, C.A. No. 7164-VCN, 2012 WL 4482838 n.66 (Del. Ch. Oct. 1, 2012); see
      also Se. Pa. Transp. Auth. v. Volgenau, C.A. No. 6354-VCN, 2012 WL 4038509, at *3 n.17 (Del. Ch. Aug.
      31, 2012) (“Thus, SEPTA’s claim for breach of fiduciary duty in Count IV could conceivably be the
      Complaint’s one ultimately successful claim. SEPTA, of course, will likely only be able to recover on that
      claim if it can show damages flowing from the disparate treatment that Volgenau received.”).
 43   Thorpe v. CERBCO, Inc., 676 A.2d 436, 445 (Del. Supr. 1996) (citing Guth v. Loft, Inc., 5 A.2d 503, 510
      (Del. Supr. 1939)).
 44   In re Direct Response Media, Inc., 466 B.R. 626, 652 (Bankr. D. Del. 2012) (citing Disney II, 906 A.2d at 67).
 45   Disney II, 906 A.2d at 66–67.
 46   Id.
 47   Id. at 52.

                                                       VII.E-7
12-12020-mg          Doc 3698-24         Filed 05/13/13 Entered 05/13/13 17:08:13                    Section VII
                                               E Pg 8 of 43




 condominiums’ by-laws, respondents had a continuing duty to repair the building’s limited
 common elements.”48 Similarly, in Butler v. Gibbons, the court found that “plaintiff’s
 allegations that defendant breached his fiduciary duty, by his repeated and continuing failure
 to account and turn over proceeds earned from renting certain properties, constituted a
 continuing wrong.”49

      However, the doctrine is employed somewhat sparingly. For example, in Pike v. New
 York Life Ins. Co., the court held that the continuing wrong doctrine did not apply where
 plaintiffs alleged that they were induced to purchase unsuitable insurance policies, because
 they could “not point to any specific wrong that occurred each time they paid a premium,
 other than having to pay it.”50 The court concluded that “any wrong accrued at the time of
 purchase of the policies, not at the time of payment of each premium.”51

                d. Fiduciary Duties In Context Of Limited Liability Companies

      Managers of an LLC owe fiduciary duties to the members and to the LLC.52 This is
 because “[m]ost LLC statutes mandate that managers, including members who manage the
 LLC, have fiduciary duties to the members and the LLC,” and “[e]ven in states whose LLC
 statutes do not specifically impose fiduciary duties on a manager, courts have ruled that
 managers including member-managers have fiduciary duties to the members.”53 Whether
 members of an LLC owe other members fiduciary duties is a more difficult question and
 varies by state.54

      Delaware courts have generally, in the absence of provisions in the limited liability
 company agreement explicitly disclaiming the applicability of default principles of fiduciary
 duty, treated LLC managers and members as owing each other and the LLC the traditional




 48   854 N.Y.S.2d 52 (N.Y. App. Div. 2008); Merine on Behalf of Prudential–Bache Util. Fund, Inc. v.
      Prudential–Bache Util. Fund, Inc., 859 F. Supp. 715, 718 (S.D.N.Y. 1994) (holding that where defendant
      allegedly breached its fiduciary duty by charging plaintiff excessive servicing fees for a mutual fund, a
      continuing wrong occurred each time it charged the allegedly excessive fee).
 49   Spitzer v. Schussel, 792 N.Y.S.2d 798, 803 (N.Y. Sup. 2005) (discussing Butler v. Gibbons, 569 N.Y.S.2d 722
      (N.Y. App. Div. 1991).
 50   901 N.Y.S.2d 76, 81 (N.Y. App. Div.).
 51   901 N.Y.S.2d 76, 81 (N.Y. App. Div.); see also Schandler v. N.Y. Life Ins. Co., No. 09 Civ. 10463, 2011 WL
      1642574, at *11 (S.D.N.Y. Apr. 26, 2011); Korn v. Merrill, 403 F. Supp. 377, 388 (S.D.N.Y. 1975); Barbara
      v. MarineMax, Inc., No. 12-CV-0368, 2012 WL 6025604, at *9 (E.D.N.Y. Dec. 4, 2012).
 52   See NICHOLAS KAREMBELAS, LIMITED LIABILITY COMPANIES: LAW, PRACTICE & FORMS § 10:2 (1st ed.
      2012).
 53   Id.
 54   Id.

                                                     VII.E-8
12-12020-mg           Doc 3698-24           Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                  E Pg 9 of 43




 duties that fiduciaries owe a corporation.55 Similar to the Delaware General Corporation Law
 (the “DGCL”), the Delaware Limited Liability Company Act (the “LLC Act”) does not
 explicitly state that traditional fiduciary duties apply by default.56 A recent Delaware
 Chancery Court decision indicated, however, that the LLC Act is even more explicit than the
 DGCL regarding whether equitable fiduciary duties are incorporated.57 Referencing
 Section 18-1004 of the LLC Act, which states that “[i]n any case not provided for in this
 chapter, the rules of law and equity . . . shall govern,”58 the court held that, unlike in the
 corporate context, the rules of equity apply in the LLC context “by statutory mandate,” and
 under traditional principles of equity, an LLC manager or member is a fiduciary of the LLC
 and its members, owing fiduciary duties of care and loyalty.59 As such, the court held that the
 LLC Act provides that managers of limited liability companies owe enforceable fiduciary
 duties.60

      The Delaware Supreme Court has yet to explicitly rule on whether there are default
 fiduciary duties in the LLC context.61 A long line of Delaware Chancery Court decisions,




 55   See Auriga Capital Corp. v. Gatz Props., LLC, 40 A.3d 839, 853–55 (Del. Ch. Jan. 27, 2012); Feeley v.
      NHAOCG, LLC, --- A.3d ----, 2012 WL 6840577, at *7–8 (Del. Ch. Nov. 28, 2012) (“Numerous Court of
      Chancery decisions hold that the managers of an LLC owe fiduciary duties.”); Bay Center Apartments Owner,
      LLC v. Emery Bay PKI, LLC, C.A. No. 3658-VCS 2009 WL 1124451, at *8 n.33 (Del. Ch. Apr. 20, 2009) (“The
      Delaware LLC Act is silent on what fiduciary duties members of an LLC owe each other, leaving the matter to
      be developed by the common law. The LLC cases have generally, in the absence of provisions in the LLC
      agreement explicitly disclaiming the applicability of default principles of fiduciary duty, treated LLC members
      as owing each other the traditional fiduciary duties that directors owe a corporation.”); Paron Capital Mgmt.,
      LLC v. Crombie, No. 7154-CS 2012 WL 2045857, at *7 n.22 (Del. Ch. May 22, 2012); Phillips v. Hove, C.A.
      No. 3644-VCL, 2011 WL 4404034, at *24 (Del. Ch. Sept. 22, 2011) (“Unless limited or eliminated in the
      entity’s operating agreement, the member-managers of a Delaware limited liability company . . . owe traditional
      fiduciary duties to the LLC and its members.”); In re Atlas Energy Res. LLC, C.A. No. 4589-VCN, 2010 WL
      4273122, at *6 (Del. Ch. Oct. 28, 2010) (“[I]n the absence of explicit provisions in an [LLC] agreement to the
      contrary, the traditional fiduciary duties owed by corporate directors . . . apply in the [LLC] context.”); Kelly v.
      Blum, Civ.A. No. 4516-VCP, 2010 WL 629850, at *10 (Del. Ch. Feb. 24, 2010) (“Delaware cases interpreting
      Section 18-1101(c) have concluded that, despite the wide latitude of freedom of contract afforded to contracting
      parties in the LLC context, ‘in the absence of a contrary provision in the LLC agreement,’ LLC managers and
      members owe ‘traditional fiduciary duties of loyalty and care’ to each other and to the company.”).
 56   See Auriga, 40 A.3d at 850.
 57   Id.
 58   Id. at 849.
 59   Id. at 850.
 60   Id.
 61   See Gatz Props., LLC v. Auriga Capital Corp., 59 A.3d 1206, 1215 (Del. Supr. Nov. 7, 2012).

                                                         VII.E-9
12-12020-mg             Doc 3698-24      Filed 05/13/13 Entered 05/13/13 17:08:13                    Section VII
                                               E Pg 10 of 43




 however, indicates that a bankruptcy court will likely find that default fiduciary duties apply
 in the LLC context, absent a limitation or elimination of such duties in the LLC agreement.62

                    e. Standing To Assert Fiduciary Duty Claims

                       (1) Corporate Context

      Traditionally, under Delaware law, directors, officers, and controlling shareholders owe
 fiduciary duties to the corporation and its shareholders and not to the corporation’s creditors.63
 In the absence of insolvency, the fiduciary duty may be enforced derivatively only by the
 corporation’s shareholders, as it is the shareholders who have standing to bring derivative
 actions on behalf of the corporation because they are the ultimate beneficiaries of the
 corporation’s growth and increased value.64 Creditors of a solvent corporation have no right,
 as a matter of law, to assert direct claims for breach of fiduciary duty.65

      In contrast, when a corporation is insolvent, creditors of the corporation “take the place
 of the shareholders as the residual beneficiaries of any increase in value.”66 As a result, “the
 creditors of an insolvent corporation have standing to maintain derivative claims against




 62   See Burtch v. Opus E., L.L.C., 480 B.R. 561, 572 (Bankr. D. Del. 2012) (“Because the duties owed by
      fiduciaries are the same whether it be a corporation or limited liability company, the fiduciary duties the
      Defendants owe the Debtor are derived from common law and not dependent on the LLC Agreement.”).
      Courts will generally look to the agreement in determining the applicable fiduciary duties, because “in the
      alternative entity context, it is frequently impossible to decide fiduciary duty claims without close
      examination and interpretation of the governing instrument of the entity giving rise to what would be, under
      default law, a fiduciary relationship.” Douzinas v. Am. Bureau of Shipping, Inc., 888 A.2d 1146, 1149–50
      (Del. Ch. 2006) (citing Flight Options Int’l, Inc. v. Flight Options, LLC, No. Civ. A. 1459-N, 2005 WL
      2335353 (Del. Ch. Sept. 20, 2005); see also Gelfman v. Weeden Investors, L.P., 859 A.2d 89 (Del. Ch. 2004);
      Miller v. Am. Real Estate Partners, L.P., No. Civ. A. 16788, 2001 WL 1045643 (Del. Ch. Sept. 6, 2001);
      R.S.M., Inc. v. Alliance Capital Mgmt. Holdings, L.P., 790 A.2d 478 (Del. Ch. 2001); Cont’l Ins. Co. v.
      Rutledge & Co., Inc., 750 A.2d 1219 (Del. Ch. 2000); Sonet v. Timber Co., 722 A.2d 319 (Del. Ch. 1998). As
      noted above, the 2006 ResCap LLC Agreement did not modify or eliminate default fiduciary duties.
 63   N. Am. Catholic Educ. Programming Found., Inc. v. Gheewalla, 930 A.2d 92, 99 (Del. 2007); In re Hechinger
      Inv. Co., 274 B.R. at 89.
 64   Gheewalla, 930 A.2d at 101. Trustees have standing to pursue claims for breaches of fiduciary duties and for
      aiding and abetting breaches of fiduciary duties. See ASARCO LLC v. Ams. Mining Corp., 396 B.R. 278, 924
      (S.D. Tex. 2008) (citing Rosener v. Majestic Mgmt., Inc. (In re OODC, LLC), 321 B.R. 128, 143 (Bankr. D.
      Del. 2005)).
 65   Gheewalla, 930 A.2d at 103.
 66   Id. at 101.

                                                     VII.E-10
12-12020-mg           Doc 3698-24         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                                E Pg 11 of 43




 directors on behalf of the corporation for breaches of fiduciary duties.”67 However, even if a
 corporation is insolvent, a creditor has no standing for a direct claim for breach of fiduciary
 duty:

                    [I]ndividual creditors of an insolvent corporation have no right
                    to assert direct claims for breach of fiduciary duty against
                    corporate directors. Creditors may nonetheless protect their
                    interest by bringing derivative claims on behalf of the insolvent
                    corporation or any other direct nonfiduciary claim . . . that may
                    be available for individual creditors.68

                    (2) Limited Liability Company Context

       Pursuant to a recent Delaware Supreme Court decision, creditors of a Delaware limited
 liability company have no standing to assert derivative claims on behalf of the limited liability
 company, even if the limited liability company is insolvent.69 The court premised its ruling on
 the plain language of Section 18-1002 of the LLC Act, which states that only LLC members
 and assignees of an LLC interest have standing to bring derivative claims on behalf of the
 LLC.70 The court held that “[b]ecause section 18-1002 is unambiguous, is susceptible of only
 one reasonable interpretation, and does not yield an absurd or unreasonable result, we apply its
 plain language. Only LLC members or assignees of LLC interests have derivative standing to
 sue on behalf of an LLC—creditors do not.”71 Accordingly, creditors of an insolvent Delaware
 LLC have more limited standing rights than creditors of an insolvent Delaware corporation.72

                f. Fiduciary Duties In The Parent-Subsidiary Context

                    (1) Duties Of Subsidiary Entity Fiduciaries

                         (a) Duties of Fiduciaries Of A Solvent Wholly Owned Subsidiary

      In Anadarko Petroleum Corp. v. Panhandle Eastern Corp., the Delaware Supreme Court
 stated in dicta that “in a parent and wholly-owned subsidiary context, the directors of the
 subsidiary are obligated only to manage the affairs of the subsidiary in the best interests of the
 67   Id; see also In re AMC Investors, LLC, No. 08-12264 2009 WL 1565823, at *7 (Bankr. D. Del. June 5, 2009);
      In re Magnesium Corp. of Am., 399 B.R. at 759; Miller v. McCowen De Leeuw & Co., Inc., (In re The Brown
      Schools), 368 B.R. 394, 409 (Bankr. D. Del. 2007); Schoon v. Smith, No. 554, 2006, 2007 WL 3021625 (Del.
      Supr. Aug. 22, 2007); Official Comm. of Unsecured Creditors of TOUSA, Inc. v. Tech. Olympic, S.A. (In re
      TOUSA, Inc.), 437 B.R. 447, 456 (Bankr. S.D. Fla. 2010).
 68   Gheewalla, 930 A.2d at 103.
 69   See CML v. LLC v. Bax, 28 A.3d 1037, 1041–42 (Del. Sept. 2, 2011).
 70   DEL. CODE ANN. tit 6, § 18-1002 (2013).
 71   Bax, 28 A.3d at 1043; see also Bank of Am., N.A. v. Knight, 875 F. Supp. 2d 837, 850 (N.D. Ill. 2012).
 72   Bax, 28 A.3d at 1042 n.16 (citing Gheewalla, 930 A.2d at 101).

                                                      VII.E-11
12-12020-mg           Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                 E Pg 12 of 43




 parent and its shareholders.”73 Despite this statement, whether directors owe a fiduciary duty
 to the subsidiary itself is a point in controversy.74 Several courts construing Delaware law
 have stated that directors of a wholly owned subsidiary owe a duty to the parent corporation,
 and not to the subsidiary corporation.75 However, other courts have limited the Anadarko dicta
 to the facts of that case and found that the directors of a wholly owned subsidiary also owe a
 duty to that subsidiary, in addition to the parent corporation.76 This may be in part because,
 “[e]ven before Anadarko, Delaware law recognized that individuals who act in a dual capacity




 73   545 A.2d 1171, 1174 (Del. 1988); see also J. Haskell Murray, “Latchkey Corporations”: Fiduciary Duties in
      Wholly Owned, Financially Troubled Subsidiaries, 36 DEL. J. CORP. L. 577, 593–94 (2011) (Latchkey
      Corporations). As described in more detail below, fiduciary duties are not owed to the creditors of a solvent
      corporation. See id.
 74   See Latchkey Corporations, 36 DEL. J. CORP. L. at 594.
 75   Anadarko Petroleum Corp. v. Panhandle E. Corp., 545 A.2d 1171, 1174 (Del. 1988) (“[I]n a parent and
      wholly-owned subsidiary context, the directors of the subsidiary are obligated only to manage the affairs of
      the subsidiary in the best interests of the parent and its shareholders.”); The Responsible Pers. of Musicland
      Holding Corp. v. Best Buy Co., Inc. (In re Musicland Holding Corp.), 398 B.R. 761, 786 (Bankr. S.D.N.Y.
      2008) (“Ordinarily, the directors of a wholly owned subsidiary ‘are obligated only to manage the affairs of the
      subsidiary in the best interests of the parent and its shareholders.’”); Teleglobe USA Inc. v. BCE Inc., (In re
      Teleglobe Commc’ns Corp.), 493 F.3d 345, 366 (3d Cir. 2007) (stating in dicta that pursuant to Delaware law,
      “all of the duties owed to the subsidiaries flow back up to the parent”); Aviall, Inc. v. Ryder Sys., Inc., 913 F.
      Supp. 826, 832 (S.D.N.Y. 1996), aff’d on other grounds, 110 F.3d 892 (2d Cir. 1997) (“When one company
      wholly owns another, the directors of the parent and the subsidiary are obligated to manage the affairs of the
      subsidiary in the best interests only of the parent and its shareholders.”); Official Comm. of Unsecured
      Creditors v. Bay Harbour Master Ltd. (“In re BHS & B Holdings LLC”), 420 B.R. 112, 144 (Bankr. S.D.N.Y.
      2009) (“[I]n a parent and wholly-owned subsidiary context, directors of the subsidiary are obligated only to
      manage the affairs of the subsidiary in the best interests of the parent and its shareholders.”).
 76   See Latchkey Corporations, 36 DEL. J. CORP. L. at 594–95 (citing First Am. Corp. v. Al-Nahyan, 17 F. Supp.
      2d 10, 26 (D.D.C. 1998) (a wholly owned subsidiary had standing to sue its directors for breach of fiduciary
      duties because “the directors of a wholly-owned subsidiary owe the corporation fiduciary duties, just as they
      would any other corporation”); In re Mirant Corp., 326 B.R. 646, 651 (Bankr. N.D. Tex. 2005) (holding that
      the defendant had engaged in an “overly-broad reading of Anadarko” and noting that Anadarko “held that
      directors of a parent owed no fiduciary duty to prospective shareholders of the subsidiary prior to a spinoff,
      not that the subsidiary’s directors owed no duty to the subsidiary”); Claybrook v. Morris (In re Scott
      Acquisition Corp.), 344 B.R. 283, 286–87 (Bankr. D. Del. 2006) (“The Southwest court relied on the
      Delaware Supreme Court’s decision in [Anadarko] for the proposition that the directors of a wholly-owned
      insolvent subsidiary owe fiduciary duties to the parent but not the subsidiary corporation. I do not believe that
      Anadarko advances this position.”); Williams v. McGreevy (In re Touch Am. Holdings, Inc.), 401 B.R. 107,
      129 (Bankr. D. Del. 2009) (in the context of solvent wholly owned subsidiary, holding that “directors of a
      wholly-owned subsidiary owe fiduciary duties to both the subsidiary and to the sole shareholder, the parent
      corporation”) (emphasis added); Official Comm. of Unsecured Creditors of RSL Com Primecall, Inc. v.
      Beckoff (In re RSL COM Primecall, Inc.), No. 01-11457 (ALG), 2003 WL 22989669, at *14 (Bankr. S.D.N.Y.
      Dec. 11, 2003) (“The Anadarko line of authority cannot be applied blindly to immunize an insolvent
      subsidiary’s Board from liability for action in disregard of its own interests and those of its creditors.”).

                                                        VII.E-12
12-12020-mg           Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                 E Pg 13 of 43




 as directors of two corporations, one of whom is parent and the other subsidiary, owe the same
 duty of good management to both corporations . . . .”77

                          (b) Duties of Fiduciaries Of An Insolvent Wholly Owned Subsidiary

      As a general rule, fiduciaries owe duties only to the corporation and its shareholders, and
 not to creditors.78 However, Delaware has adopted an “insolvency exception” to the general
 rule that there is no fiduciary duty to creditors.79 When a wholly owned subsidiary becomes
 insolvent, the director’s fiduciary duties to the corporation now “run to the benefit of the
 creditors . . . . The directors’ focus is no longer solely on its shareholders’ interests, but also on
 the creditors’ interests.”80

      There is still some uncertainty with regard to whether an insolvent subsidiary’s directors
 continue to owe any fiduciary duties to shareholders (i.e., the parent entity):

                     There appears to be some difference of opinion regarding
                     whether, in the case of insolvency, directors still owe any
                     fiduciary duties to the shareholders, or rather, if the creditors
                     essentially take the place of the shareholders as residual
                     beneficiaries. Some courts seem to take a “community of
                     interests” approach, while others recognize that the creditors and
                     shareholders switch places.81

 New York courts have held that, under Delaware law, directors and officers of an insolvent
 wholly owned subsidiary owe fiduciary duties to the subsidiary and its creditors, in addition to




 77   See Latchkey Corporations, 36 DEL. J. CORP. L. at 594 (citing Weinberger v. UOP, Inc., 457 A.2d 701, 710
      (Del. 1983)) (holding that “the long-existing principle of Delaware law that [parent] designated directors on [a
      subsidiary’s] board still owed [the subsidiary] and its shareholders an uncompromising duty of loyalty,” and
      noting that “[t]here is no dilution of this obligation where one holds dual or multiple directorships, as in a
      parent-subsidiary context”).
 78   See ASARCO LLC v. Ams. Mining Corp., 396 B.R. 278, 395 (S.D. Tex. 2008) (applying Delaware law); see also
      Anadarko, 545 A.2d at 1174.
 79   See ASARCO, 396 B.R. at 395 (citing In re Scott Acquisition Corp., 344 B.R. 283, 289 (Bankr. D. Del. 2006))
      (holding that a subsidiary’s creditors and the subsidiary itself are owed a fiduciary duty upon insolvency);
      Prod. Res. Group, LLC v. NCT Group, 863 A.2d 772, 790–91 (Del. Ch. 2004) (“When a firm has reached the
      point of insolvency . . . the firm’s directors are said to owe fiduciary duties to the company’s creditors.”); see
      also Latchkey Corporations, 36 DEL. J. CORP. L. at 596–97 (citing Gheewalla, 930 A.2d at 101).
 80   ASARCO, 396 B.R. at 395; see also Prod. Res. Group, LLC, 863 A.2d at 790–91 (“The fact of insolvency
      places the creditors in the shoes normally occupied by the shareholders—that of residual risk-bearers.”).
 81   ASARCO, 396 B.R. at 395 (citing VFB LLC v. Campbell Soup Co., 482 F.3d 624, 635–36 (3d Cir. 2007)).

                                                        VII.E-13
12-12020-mg           Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                                 E Pg 14 of 43




 the parent corporation.82 Accordingly, “[t]here is no basis for the principle . . . that the
 directors of an insolvent subsidiary can, with impunity, permit it to be plundered for the
 benefit of its parent corporation.”83
                     (2) Duties Of Parent Entity Fiduciaries
      As a general rule, fiduciaries of a parent corporation do not owe duties to the parent’s
 wholly owned subsidiary,84 as fiduciaries owe duties only to the corporation and its
 shareholders (which excludes entities owned by the parent). This general rule is distinguished
 from a situation in which a subsidiary is not wholly owned, as the parent (the dominant
 shareholder) will then owe fiduciary duties to minority shareholders.85 The rationale for this
 exception “is that when minority shareholders are involved, the subsidiary does not exist
 solely for the parent’s benefit. Recognition of a fiduciary duty in the dominant shareholder is
 designed to protect the entire community.”86
       Directors of a parent corporation to an insolvent subsidiary generally do not owe
 fiduciary duties to either the insolvent subsidiary or the insolvent subsidiaries’ creditors.87
 However, as noted in ASARCO, because Delaware law recognizes a claim against a parent for
 aiding and abetting a breach of duty by a subsidiary’s fiduciary, that claim “can serve this gap-
 filling purpose; thus, there is no need to impose a duty directly on the parent corporation.”88
 82   See Latchkey Corporations, 36 DEL. J. CORP. L. 577, 597–98 (2011) (citing In Re RSL COM Primecall, Inc.,
      No. 01-11457 (ALG), 2003 WL 22989669, at *13 (“It would be absurd to hold that the doctrine that directors
      owe special duties after insolvency is inapplicable when the insolvent company is a subsidiary of another
      corporation. That is precisely when a director must be most acutely sensitive to the needs of a corporation’s
      separate community of interests, including both the parent shareholder and the corporation’s creditors.”);
      Roselink Investors, LLC v. Shenkman, 386 F. Supp. 2d 209, 215 (S.D.N.Y. 2004) (“[D]irectors of a wholly
      owned subsidiary, who otherwise would owe fiduciary duties only to the parent, also owe fiduciary duties to
      creditors of the subsidiary when the subsidiary enters ‘the zone of insolvency.’”).
 83   In re TOUSA, Inc., 437 B.R. at 458 (citing In re Scott Acquisition, 344 B.R. at 288; ASARCO, 396 B.R. at 395;
      RSL Commc’n PLC ex rel. Jervis v. Bildirici, No. 04-CV-5217 (KMK), 2006 WL 2689869, at *9 (S.D.N.Y.
      Sept. 14, 2006)).
 84   See ASARCO, 396 B.R. at 414 (citing Trenwick Am. Litig. Trust v. Ernst & Young, LLP, 906 A.2d 168, 191
      (Del. Ch. 2006); Citron v. Fairchild Camera & Instrument Corp., 569 A.2d 53, 70 (Del. 1989)); see also
      Anadarko Petroleum Corp. v. Panhandle E. Corp., 545 A.2d 1171, 1174 (Del. 1988); Official Comm. of
      Unsecured Creditors of Hydrogen, LLC v. Blomen (In re Hydrogen, LLC), 431 B.R. 337, 347 (Bankr.
      S.D.N.Y. 2010) (“[T]he weight of authority around the country holds that the directors of a parent corporation
      owe no fiduciary duties to a wholly owned subsidiary.”).
 85   See ASARCO, 396 B.R. at 414 (citing Anadarko, 545 A.2d at 1171).
 86   Id. (citing Pepper v. Litton, 308 U.S. 295, 307 (1939)).
 87   See id. 415–16 (denying a claim by wholly owned subsidiary against parent corporation for breach of
      fiduciary duty). But see In re RSL COM Primecall, Inc., No. 01-11457 (ALG), 2003 WL 22989669, at *14
      (“[D]irectors of the parent cannot be compelled at such time to attend only to the interests of the subsidiary,
      especially where (as here) both were insolvent.”).
 88   ASARCO, 396 B.R. at 415–16 (explaining that “under . . . Delaware law, the aiding and abetting claim [the
      subsidiary] brought requires knowing participation by a non-fiduciary. Thus, by finding a parent corporation
      can be liable for aiding and abetting its subsidiary’s directors’ breach of fiduciary duty, courts, including this
      one, have implicitly acknowledged that the parent corporation has no fiduciary obligation to its insolvent
      wholly owned subsidiary or its subsidiary’s creditors.”).

                                                        VII.E-14
12-12020-mg          Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                                E Pg 15 of 43




                g. Potential Defenses To A Claim For Breach Of Fiduciary Duty
                    (1) The Business Judgment Rule Protects Certain Conduct
        The Delaware Supreme Court has articulated the “business judgment rule” as follows:
                    The business judgment rule has been well formulated by
                    Aronson89 and other cases. (“It is a presumption that in making a
                    business decision the directors . . . acted on an informed basis, in
                    good faith and in the honest belief that the action taken was in
                    the best interests of the corporation.”) Thus, directors’ decisions
                    will be respected by courts unless the directors are interested or
                    lack independence relative to the decision, do not act in good
                    faith, act in a manner that cannot be attributed to a rational
                    business purpose or reach their decision by a grossly negligent
                    process that includes the failure to consider all material facts
                    reasonably available.90
      Directors may avoid liability for breach of fiduciary duties by invocation of the business
 judgment rule.91 The business judgment rule has four elements: “(1) a business decision;
 (2) disinterestedness and independence; (3) due care; and (4) good faith,” and the presumption
 that the business judgment rule applies “can be rebutted by demonstrating that one of these
 elements is not present.”92 If a plaintiff can meet its burden and demonstrate that a director
 breached a fiduciary duty, the burden shifts and the director must prove the “entire fairness” of
 the transaction.93 Entire fairness has two elements, fair dealing and fair price, and a director
 must prove both.94
 89   Aronson v. Lewis, 473 A.2d 805, 812 (Del. 1984).
 90   Brehm v. Eisner, 746 A.2d 244, 264 n.66 (Del. 2000) (“Disney II”) (internal citation omitted); see Responsible
      Person v. Best Buy Co., Inc. (In re Musicland Holding Corp.), 398 B.R. 761, 788 (Bankr. S.D.N.Y. 2008); FLI
      Deep Marine LLC v. McKim, No. 04-V-5217 (KMK), 2009 WL 1204363, at *2-3 (Del. Ch. April 21, 2009).
 91   Aronson, 473 A.2d at 812; see Halpert Enter., Inc. v. Harrison, No. 07-1144-CV 2008 WL 4585466, at *1 (2d
      Cir. Oct. 15, 2008); In re Tower Air, Inc., 416 F.3d at 238; Lemond v. Manzulli, No. OS Civ. 2222 (ILG),
      2009 WL 1269840, at *4 (E.D.N.Y. Feb. 9, 2009); IT Litig. Trust v. D’Aniello (In re IT Group Inc.), No. 02-
      10118, 2005 WL 3050611, at *7 (D. Del. Nov. 15, 2005); McMullin v. Beran, 765 A.2d 910, 916 (Del 2000).
      The Delaware Supreme Court has also articulated the business judgment rule in terms of gross negligence:
      “While the Delaware cases use a variety of terms to describe the applicable standard of care, our analysis
      satisfies us that under the business judgment rule director liability is predicated upon concepts of gross
      negligence.” Aronson, 473 A.2d at 812; see also Auburn Chevrolet-Oldsmobile-Cadillac, Inc. v. Branch, Civil
      Case No. 5:06-CV-0362, 2009 WL 667430, at *13 n.21 (N.D.N.Y. Mar. 10, 2009); In re Ply Gem Indus., Inc.
      Shareholders Litig., No. Civ.A. 15779-NC, 2001 WL 1192206, at *1 n.4 (Del. Ch. Oct 3, 2001); Brittingham
      v. Bd. of Adjustment of City of Rehoboth Beach, No. Civ.A. 03A-08-002, 2005 WL 1653979, at *3 n.2 (Del.
      Supr. Jan. 14, 2005).
 92   ASARCO, 396 B.R. at 405 (citing Roselink Investors, L.L.C. v. Shenkman, 386 F. Supp. 2d 209, 217–21
      (S.D.N.Y. 2004) (applying Delaware law)).
 93   Liquidation Trust of Hechinger Inv. Co. of Del., Inc. v. Fleet Retail Fin. Group (In re Hechinger Inv. Co.),
      327 B.R. 537, 549 (D. Del. 2005), aff’d, 278 F.3d Appx. 125 (3d Cir 2008).
 94   See Weinberger v. UOP, Inc., 457 A.2d 701, 711 (Del. 1983).

                                                      VII.E-15
12-12020-mg          Doc 3698-24        Filed 05/13/13 Entered 05/13/13 17:08:13                 Section VII
                                              E Pg 16 of 43




      A director will be considered interested if he either: “(1) stands on both sides of the
 transaction; or (2) expects to derive a personal financial benefit from the transaction.”95 A
 New York federal court, applying Delaware law, has held that “where the directors of a
 wholly owned subsidiary stand on both sides of a transaction by virtue of the fact that they
 also serve on the parent’s board, this does not automatically rebut the business judgment rule
 presumption.”96 Other courts applying Delaware law have disagreed. The ASARCO court
 explained that it:
                    disagrees with this rationale as it ignores the fact that the
                    directors of an insolvent wholly owned subsidiary have divided
                    loyalties (between the parent, their corporation (the subsidiary),
                    and the subsidiary’s creditors), and “[w]hen faced with such
                    divided loyalties, directors have the burden of establishing the
                    entire fairness of the transaction to survive careful scrutiny by
                    the courts.”97
 Delaware courts, and other courts applying Delaware law, have followed ASARCO’s
 reasoning. For example, in In re Digex, Inc. S’holders Litig., the court held that:
                    [w]hen the directors of a Delaware corporation appear on both
                    sides of a transaction, the presumption in favor of the business
                    judgment rule is rebutted and the directors are required to
                    demonstrate their “utmost good faith and the most scrupulous
                    inherent fairness of the bargain . . . . Where a director holds dual
                    directorships in the parent-subsidiary context, there is no
                    dilution of this obligation to demonstrate the entire fairness of
                    specific board actions.98
       In re Musicland Holding Corp., came to a similar conclusion. In that case, breach of
 fiduciary duty claims filed against officers and directors of a corporate subsidiary and related
 entities were found to be sufficient to rebut the business judgment rule because the complaint
 alleged that debt instruments between the parent and subsidiary and payments made pursuant
 to those instruments “were the product of dual loyalties and self-dealing” of the defendants.99
 The court found that the defendants had “significant financial interests” in the parent or owed
 fiduciary duties to both parent and subsidiary and related entities.100 Accordingly, “because of
 95   ASARCO, 396 B.R. at, 405 (citing Roselink Investors, L.L.C. v. Shenkman, 386 F. Supp. 2d 209, 217
      (S.D.N.Y. 2004)); Aronson v. Lewis, 473 A.2d 805, 812 (Del. 1984).
 96   ASARCO, 396 B.R. at, 405 n.149 (citing Roselink Investors, L.L.C. v. Shenkman, 386 F. Supp. 2d 209, 217
      (S.D.N.Y. 2004) (“However, presence on both sides of the transaction does not automatically rebut the
      business judgment rule presumption.”)).
 97   ASARCO, 396 B.R. at, 405 n.149.
 98   789 A.2d 1176, 1206 (Del. Ch. 2000); see also Seidel v. Byron, 405 B.R. 277, 290–91 (N.D. Ill. 2009)
      (applying Delaware law).
 99   398 B.R. 761, 788 (Bankr. S.D.N.Y. 2008).
 100 Id.



                                                   VII.E-16
12-12020-mg           Doc 3698-24         Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                                E Pg 17 of 43




 their connection to or relationship with [the parent], the Pre–Sale Individual Defendants were
 dependent upon [the parent] for continued employment and compensation and were therefore
 beholden to [the parent] to the detriment of [the subsidiary],” and therefore “lacked
 independence.”101 The court did not discuss applicability of the entire fairness standard, but
 did find that the business judgment rule was rebutted.102

                      (2) Fiduciaries May Be Entitled To Rely On Expert Advice

      Directors of Delaware corporations can “properly delegate responsibility to qualified
 experts in a host of circumstances,”103 and “directors of Delaware corporations are fully
 protected in relying in good faith on the reports of officers and experts.”104 Specifically,
 under section 141(e) of the Delaware General Corporation Law, directors of a corporation
 may be protected from breach of the fiduciary duty of care claims on the basis that they relied
 in good faith on a qualified expert.105 Section 141(e) provides:

                      A member of the board of directors, or a member of any
                      committee designated by the board of directors, shall, in the
                      performance of such member’s duties, be fully protected in
                      relying in good faith upon the records of the corporation and
                      upon such information, opinions, reports or statements presented
                      to the corporation by any of the corporation’s officers or
                      employees, or committees of the board of directors, or by any
                      other person as to matters the member reasonably believes are
                      within such other person’s professional or expert competence
                      and who has been selected with reasonable care by or on behalf
                      of the corporation.106




 101 Id. at 788–89.

 102 Id.

 103 Ash v. McCall, No. Civ.A. 17132, 2000 WL 1370341, at *9 (Del. Ch. Sept. 15, 2000) (dismissing breach of

    fiduciary duty of care claim where complaint “allege[d] that the . . . directors were advised by their experts . . .
    and that they relied on their expertise in conducting due diligence ancillary to the proposed merger”).
 104 In re Citigroup Inc. S’holder Derivative Litig., 964 A.2d 106, 132 (Del. Ch. 2009).

 105 Brehm v. Eisner, 746 A.2d 244, 261 (Del. 2000) (“Disney I”) (citing DEL. CODE ANN. tit. 8 § 141(e) (2010)).

 106 DEL. CODE ANN. tit. 8, § 141(e) (2010).



                                                       VII.E-17
12-12020-mg         Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                               E Pg 18 of 43




 For example, section 141(e) applies where a director relies on advice of counsel107 or an
 investment banking firm delivers a fairness opinion.108
      In order to survive a motion to dismiss a shareholder derivative action alleging breach of
 the duty of care, “where an expert has advised the board in its decisionmaking process,” a
 complaint must allege facts that would show that:
                   (a) the directors did not in fact rely on the expert; (b) their
                   reliance was not in good faith; (c) they did not reasonably
                   believe that the expert’s advice was within the expert’s
                   professional competence; (d) the expert was not selected with
                   reasonable care by or on behalf of the corporation, and the faulty
                   selection process was attributable to the directors; (e) the subject
                   matter that was material and reasonably available was so
                   obvious that the board’s failure to consider it was grossly
                   negligent regardless of the expert’s advice or lack of advice; or
                   (f) that the decision of the board was so unconscionable as to
                   constitute waste or fraud.109
      With regard to legal advice, “[a] number of cases have held that it is the existence of
 legal advice that is material to the question of whether the board acted with due care, not the
 substance of that advice.”110 For example, in Hollinger International, Inc. v. Black, the court
 dismissed a breach of fiduciary duty claim because it found that the defendants had
 sufficiently informed themselves by seeking the advice of counsel.111 In dismissing the claim,
 the court emphasized that it did not rely on the content of the advice in making its
 determination, but rather that the seeking of advice demonstrated the directors’ effort to
 inform themselves properly.112
       Fiduciaries are generally not held to a lesser standard when dealing with complex or
 difficult issues. Rather, “given the complex situations and business issues boards must
 address, in order to meet their fiduciary obligations to be fully informed, directors often must
 rely on lawyers, financial advisors, economists, and other specialized experts to advise
 107 Gagliardi v. TriFoods Int’l, Inc., 683 A.2d 1049, 1051 n.2 (Del. Ch. 1996) (“There can be no personal liability

    of a director for losses arising from illegal transactions if a director were financially disinterested, acted in
    good faith, and relied on advice of counsel reasonably selected in authorizing a transaction.”).
 108 Crescent / Mach I Partners, L.P. v. Turner, 846 A.2d 963, 985 (Del. Ch. 2000) (“Section 141(e) of Delaware’s

    corporation law provides that directors are protected from a breach of the duty of care when the directors
    reasonably believe the information upon which they rely has been presented by an expert selected with
    reasonable care and is within that person’s professional or expert competence.”).
 109 Brehm v. Eisner, 746 A.2d 244, 262 (Del. 2000) (“Disney I”).

 110 In
      re Comverge, Inc. S’holders Litig., Civil Action No. 7368-VCP, 2013 WL 1455827, at *4 (Del. Ch.
    April 10, 2013).
 111 844 A.2d 1022, 1084 (Del. Ch. 2004), aff’d, 872 A.2d 559 (Del. 2005).

 112 Id. at 1085; see also Baxter Int’l, Inc. v. Rhône–Poulenc Rorer Inc., No. Civ.A. 19328, 2004 WL 2158051, at

    *3 (Del. Ch. Sept. 17, 2004) (noting that “while the subject matter of the emails may be at issue (as is often
    the case with privileged material), the communications themselves are not”).

                                                     VII.E-18
12-12020-mg         Doc 3698-24         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              E Pg 19 of 43




 them.”113 Delaware courts have recognized that “[d]irectors of Delaware corporations quite
 properly delegate responsibility to qualified experts in a host of circumstances.”114

                   (3) An Exculpation Clause May Insulate Certain Conduct

                       (a) Corporate Context

      A defendant may also avoid responsibility for breach of fiduciary duties by relying on an
 exculpation clause in a corporate charter.115 In general, an exculpation clause will release a
 director from liability for a breach of duty of care, but not for a breach of duty of loyalty.116

       Assuming that a plaintiff can adequately show a breach of fiduciary duty sufficient to
 avoid application of the business judgment rule, a director may still invoke DEL. CODE. ANN.
 tit. 8, § 102(b)(7) as an affirmative defense if the pertinent exculpation provision reflects the
 language in § 102(b)(7).117 However, this does not necessarily mean that duty of care claims
 would be subject to dismissal at the Rule 12(b)(6) stage. Courts have held that such dismissal
 would be premature where the complaint also adequately alleges damages resulting from
 breaches of the duty of loyalty or good faith, as such damages cannot be exculpated under
 § 102(b)(7).118

                       (b) Limited Liability Company Context

     An exculpatory clause found in an LLC agreement “is functionally akin” to the
 exculpatory charter provision authorized under Delaware corporate law.119 Accordingly, an
 exculpatory clause of an LLC agreement, like a corporate charter, can limit common law
 113 R. FRANKLIN BALOTTI ET AL., SAFE HARBOR FOR OFFICER RELIANCE: COMPARING THE APPROACHES OF

    THE MODEL BUSINESS CORPORATION ACT AND DELAWARE’S GENERAL CORPORATION LAW, at 170 (2011).
 114 Ash v. McCall, No. 17132, 2000 WL 1370341, at *9 (Del. Ch. Sept. 15, 2000); see also Perrine v. Pennroad

    Corp., 43 A.2d 721, 727 (Del. Ch. 1945). However, “Delaware courts have indicated that they may take into
    account the specialized skills of a particular individual in concluding whether that individual has met his or
    her fiduciary obligations.” R. FRANKLIN BALOTTI ET AL., SAFE HARBOR FOR OFFICER RELIANCE:
    COMPARING THE APPROACHES OF THE MODEL BUSINESS CORPORATION ACT AND DELAWARE’S GENERAL
    CORPORATION LAW, at 174 n.49 (2011). See, e.g., In re Emerging Commc’ns, Inc. S’holders Litig.,
    No. 16415, 2004 WL 1305745, at *39–40 (Del. Ch. May 3, 2004) (director with special expertise could not
    perfunctorily rely on advice of experts and could be held liable for breach of fiduciary duty based on
    knowledge that price was unfair).
 115 DEL. CODE ANN. tit. 8, § 102(b)(7) (2010); In re Direct Response, 466 B.R. at 651.

 116 See Graham v. Taylor Capital Group, Inc. (In re Reliance Sec. Litig.), 135 F. Supp. 2d 480, 519 (D. Del.

    2001); see also KDW Restructuring, 874 F. Supp. 2d at 221 (citing In re NYMEX S’holder Litig., 2009 WL
    3206051, at *6 (Del. Ch. Sept. 30, 2009)); In re Direct Response, 466 B.R. at 651.
 117 See Section IV.B (discussing exculpation provisions and principles pertinent to ResCap fiduciaries).

 118 See Bridgeport Holdings Inc. Liquidating Trust v. Boyer, 388 B.R. 548, 568 (Bankr. D. Del. 2008); In re

    Direct Response, 466 B.R. at 651.
 119 In re Opus, 2012 WL 4867169, at *7 (citing Auriga Capital Corp. v. Gatz Props., 40 A.3d 839, 859 (Del. Ch.

    2012)).

                                                     VII.E-19
12-12020-mg         Doc 3698-24         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              E Pg 20 of 43




 fiduciary duties.120 As in the corporate context, invocation by a fiduciary of such an
 exculpatory clause will be considered an affirmative defense.121

               h. Burden With Respect To Fraud-Based Fiduciary Duty Claim

      A plaintiff alleging fraud as part of a claim for breach of fiduciary duty must satisfy the
 pleading requirements of Federal Rule of Civil Procedure 9(b).122 However, “the normally
 rigorous particularity rule [of 9(b)] has been relaxed somewhat where the factual information
 is peculiarly within the defendant’s knowledge or control.”123 “A bankruptcy trustee, as a third
 party outsider to the debtor’s transactions, is generally afforded greater liberality under the
 more relaxed standard.”124 Despite this relaxed standard, “boilerplate and conclusory
 allegations will not suffice. Plaintiffs must accompany their legal theory with factual
 allegations that make their theoretically viable claim plausible.”125

               i. Potential Remedies For Fiduciary Duty Breaches Can Vary

       A successful claim for breach of fiduciary duty in a derivative action can allow recovery
 of monetary damages for the corporation.126 A breach of fiduciary duty claim can also give
 rise to equitable relief, including requiring the fiduciary to disgorge profits, such as forcing an
 executive to surrender compensation.127



 120 See id.

 121 Id. (citing Auriga Capital Corp. v. Gatz Props., 40 A.3d 839, 859 (Del. Ch. 2012) (citing Ad Hoc Comm. of

    Equity Holders of Tectonic Network, Inc. v. Wolford, 554 F. Supp. 2d 538, 561 (D. Del. 2008); Mervyn’s LLC
    v. Lubert-Adler Group IV, LLC (In re Mervyn’s Holdings, LLC), 426 B.R. 488, 502 (Bankr. D. Del. 2010)).
 122 Marino v. Grupo Mundial Tenedora, S.A., 810 F. Supp. 2d 601, 606 (citing DeBlasio v. Merrill Lynch & Co.,

    Inc., No. 07 Civ. 318, 2009 WL 2242605, at *10 (S.D.N.Y. July 27, 2009) (claims for breach of fiduciary duty
    and aiding and abetting breach of fiduciary duty that sound in fraud must meet Rule 9(b)); Pacific Elec.
    Wire & Cable Co. v. Set Top Int’l. Inc., No. 03 Civ. 9623, 2005 WL 2036033, at *15 (S.D.N.Y. 2005)
    (holding that “[b]oth counts [for breach of fiduciary duties and aiding and abetting breach of fiduciary duties]
    state that Defendants breached their fiduciary duties to Plaintiffs by making material misrepresentations to
    Plaintiffs. These claims sound in fraud and must meet the heightened pleading standard of Rule 9(b)”).
 123 In re Opus East, L.L.C., 480 B.R. 561, 573 (Bankr. D. Del. 2012) (citing In re Burlington Coat Factory Sec.

    Litig., 114 F.3d 1410, 1418 (3d Cir. 1997)).
 124 Id. (citing Global Link Telecom Corp., 327 B.R. at 717); see also Rosener v. Majestic Mgmt., Inc. (In re

    OODC, LLC), 321 B.R. 128, 140 (Bankr. D. Del. 2005) (holding that 9(b) “requirement is relaxed even more
    when the plaintiff is a third party, such as a trustee, because a third party generally has less information on
    which to base its allegation”).
 125 In re Opus East, L.L.C., 480 B.R. 561, 573 (Bankr. D. Del. 2012) (citing In re Burlington Coat Factory Sec.

    Litig., 114 F.3d 1410, 1418 (3d Cir. 1997)).
 126 See 1 ROGER J. MAGNUSON, SHAREHOLDER LITIGATION § 10:21 (1st ed. 1982); Official Comm. of Unsecured

    Creditors v. Fleet Retail Fin. Group (In re Hechinger Inv. Co.), 274 B.R. 71, 89 n.8 (D. Del. 2002).
 127 See 1 ROGER J. MAGNUSON, SHAREHOLDER LITIGATION § 10:21 (1st ed. 1982).



                                                     VII.E-20
12-12020-mg         Doc 3698-24         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              E Pg 21 of 43




                    (1) Monetary Damages May Be Available

      “Whether the action is direct or derivative, [a] plaintiff can recover damages that flow
 directly from defendant’s breach of fiduciary duty.”128 Monetary damages suffered by a
 corporation as a result of a breach can be collected if the claim is part of a derivative action, or
 monetary damages suffered by an individual can be collected if the claim is part of a direct
 action.129

      The appropriate quantum of damages is the amount lost as a result of the breach.130
 “Where this Court finds that a breach of fiduciary duty has occurred, the specificity and
 amount of evidence required from the Plaintiff on the issue of damages is minimal.”131
 Delaware courts do not require absolute certainty in the award of damages so long as “a wrong
 has been proven and injury established,”132 and damages resulting from a breach of the
 fiduciary duty of loyalty will be “liberally calculated.”133 “[A]lthough a damage award cannot
 be based on ‘speculation’ or ‘conjecture,’134 . . . as long as there is a responsible basis for an
 estimate of damages, ‘mathematical certainty’ is not required.”135 If evidentiary uncertainty




 128 Id.

 129 Id.; Official Comm. of Unsecured Creditors v. Fleet Retail Fin. Group (In re Hechinger Inv. Co.), 274 B.R.

    71, 89 n.8 (D. Del. 2002).
 130 Beard Research, Inc. v. Kates, 8 A.3d 573, 615 (Del. Ch. 2010) (“the loss in value of Plaintiffs’ business and

    the lost cash flow,[was] sufficient to support a responsible estimate of the damages suffered by CB and BR as
    a result of the wrongs alleged in this action”); Thorpe v. CERBCO, Inc., Civ.A. No. 11713, 1993 WL 443406,
    at *12 (Del. Ch. Oct. 29, 1993) (“It is, of course, fundamental that a fiduciary who breaches his duty is liable
    for any loss suffered by the beneficiary of his trust.”); Ash v. Board of Managers of 155 Condominium, 23
    Misc.3d 1103(A), 881 N.Y.S.2d 361 (Table), at *8 (N.Y. Sup. Aug. 29, 2008) (“[T]he measure of damages for
    breach of fiduciary duty is the amount of the loss sustained.”); National Union Fire Ins. Co. v. Proskauer Rose
    Goetz & Mendelsohn, 165 Misc.2d 539, 546, 634 N.Y.S.2d 609, 615 (N.Y. Sup. 1994) (“[t]he appropriate
    measure of damages [for a breach of fiduciary duty] requires placing [plaintiff] in the same condition it would
    have been had the wrong not occurred”).
 131 Encite LLC v. Soni, Civil Action No. 2476-VGG 2011 WL 5920896, at *25; Hampshire Group, Ltd. v.
    Kuttner, 2010 WL 2739995, at *50 (Del. Ch. July 12, 2010); Gotham Partners, L.P. v. Hallwood Realty
    Partners, L.P., 817 A.2d 160, 176 (Del. 2002) (“[T]he scope of recovery for a breach of the duty of loyalty is
    not to be determined narrowly.”).
 132 Encite, 2011 WL 5920896, at *25 (citing Beard Research, Inc. v. Kates, 8 A.3d 573, 613 (Del. Ch. 2010);

    Great Am. Opportunities, Inc. v. Cherrydale Fundraising, LLC, Civil Action No. 3718-VCP, 2010 WL
    338219, at *22 (Del. Ch. Jan. 29, 2010)).
 133 Auriga Capital Corp. v. Gatz Props., 40 A.3d 839, 879 (Del. Ch. 2012) (citing Thorpe v. CERBCO, Inc., 676

    A.2d 436, 444–45 (Del. 1996)).
 134 Id. (citing Acierno v. Goldstein, No. Civ.A. 20056-NC, 2005 WL 3111993, at *6 (Del. Ch. Nov. 16, 2005)).

 135 Id. (citing Bomarko, Inc. v. Int’l Telecharge, Inc., 794 A.2d 1161, 1184 (Del. Ch. 1999), aff’d, 766 A.2d 437

    (Del. 2000)).

                                                     VII.E-21
12-12020-mg         Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               E Pg 22 of 43




 exists in ascertaining damages attributable to the misconduct, the ambiguity will be construed
 against the defendant.136

      Where a transaction is determined to be unfair, the measure of damages for a breach of
 fiduciary duty “is not necessarily limited to the difference between the price offered and the
 true value as determined under the appraisal proceedings . . . . [T]he [court] may fashion any
 form of equitable and monetary relief as may be appropriate, including rescissory
 damages.”137

                   (2) Equitable Remedies May Be Available

      Constructive trusts are an example of a type of equitable remedy, where the fiduciary “is
 viewed as having taken the money subject to a trust which is constructed for him by the
 court.”138 The fiduciary then “must account in full” for the money improperly taken, and “pay
 back the highest of either his earnings with the trust assets, or what he could have earned in
 another investment.”139 The remedy that will apply with respect to any particular breach of
 fiduciary duty will ultimately turn on specific factual circumstances; “[b]ecause the breaches
 of duty are so variegated, the type and extent of damages recovered have no fixed pattern.”140

              j. Choice Of Law Regarding Statutes Of Limitations Is Uncertain

      Choice-of-law issues exist with respect to determining the application of statutes of
 limitation to claims for breach of fiduciary duty.141



 136 See id. (“Given his own breaches of loyalty, the attendant uncertainties cut against [defendant], not against the

    victims of his infidelity.”); Encite LLC v. Soni, 2011 WL 5920896, at *25 C.A. No. 20213-VCN, (“Any
    uncertainty in awarding damages is resolved against the wrongdoer.”); Gentile v. Rossette, 2010 WL 2171613,
    at *11 (Del. Ch. May 28, 2010) (uncertainties in accessing damages “may cut against the fiduciary who has
    not faithfully discharged his duties.”); Eastman Kodak Co. of N.Y. v. S. Photo Materials Co., 273 U.S. 359,
    379, (1927) (“[A] defendant whose wrongful conduct has rendered difficult the ascertainment of the precise
    damages suffered by the plaintiff is not entitled to complain that they cannot be measured with the same
    exactness and precision as would otherwise be possible.”).
 137 Cinerama, Inc. v. Technicolor, Inc., 663 A.2d 1156, 1166 (Del. 1995). Where defendant directors breach

    “their fiduciary duties of care and loyalty by allowing the company and its subsidiaries to take on additional
    debt in a fiscally irresponsible manner and by misusing corporate assets,” deepening insolvency can be a valid
    theory of damages for the breach of fiduciary duty claim. See In re The Brown Schools, 386 B.R. 37, 48
    (Bankr. D. Del. 2008) (citing Alberts v. Tuft (In re Greater Southeast Cmty. Hosp. Corp. I), 353 B.R. 324, 333
    (Bankr. D.C. 2006)). But see Seitz v. Detweiler, Hershey and Associates, P.C. (In re CitX Corp.), 448 F.3d
    672, 677-78 (3d Cir. 2006).
 138 1 ROGER J. MAGNUSON, SHAREHOLDER LITIGATION § 10:21 (1st ed. 1982).

 139 Id.

 140 Id.

 141 See Buchwald v. Renco Group, Inc. (In re Magnesium Corp. of Am.), 399 B.R. 722, 743 (Bankr. S.D.N.Y.

    2009).

                                                      VII.E-22
12-12020-mg            Doc 3698-24       Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                               E Pg 23 of 43




                       (1) Claim Brought In New York Federal Court
       Assuming a claim were brought in federal court in New York, pursuant to N.Y. C.P.L.R.
 202142 New York has a “borrowing statute,” “which requires the application of New York’s
 statute of limitations when ‘the cause of action accrued in favor of a resident of the state.”143
 Essentially, this means that “for a non-resident of New York, a restrictive [Delaware] statute
 of limitations could not be circumvented by bringing suit in New York instead.”144 Because
 the New York borrowing statute is only consulted if a nonresident plaintiff’s cause of action
 accrued outside the state of New York, whether N.Y. C.P.L.R. 202 applies will depend on the
 plaintiff’s residence.
      If the plaintiff were a non-resident of New York, and N.Y. C.P.L.R. 202 were applicable
 because the cause of action accrued in a state with a limitations period shorter than New
 York’s (such as Delaware), N.Y. C.P.L.R. 202 “requires application of the shorter of the
 statute of limitations of New York and the statute of limitations of the state in which the cause
 of action accrued.”145 The location of a plaintiff’s injury determines the place of accrual for
 purposes of N.Y. C.P.L.R. 202.146 For claims of breach of fiduciary duty, because the “alleged
 injury is purely economic, the place of injury usually is where the plaintiff resides and sustains
 the economic impact of the loss.”147 For claims brought on behalf of incorporated entities, the
 claim accrues where the corporation sustained the economic impact of the alleged breach,
 which is either the state of its incorporation or its principal place of business.148
 142 N.Y. C.P.L.R. 202 provides that “[a]n action based upon a cause of action accruing without the state cannot be

    commenced after the expiration of the time limited by the laws of either the state or the place without the state
    where the cause of action accrued, except that where the cause of action accrued in favor of a resident of the
    state the time limited by the laws of the state shall apply.”
 143 Bianco v. Erkins (In re Gaston & Snow), 243 F.3d 599, 604 (2d Cir. 2001). New York’s borrowing statute will

    not be utilized if a court finds that federal choice-of-law rules apply. See Bianco v. Erkins (In re Gaston &
    Snow), 243 F.3d 599, 605 (2d Cir. 2001) (“By contrast, if federal choice of law rules are to be utilized, the
    borrowing statute would not be considered and there is little doubt that New York’s statute of limitations
    would not apply.”). However, in In re Gaston & Snow, the court held that “where no significant federal
    policy, calling for the imposition of a federal conflicts rule, exists,” bankruptcy courts should apply the
    choice-of-law rules of the forum state. In re Gaston & Snow, 243 F.3d at 607; see also In re Hydrogen, LLC,
    431 B.R. at 346 (“Bankruptcy courts adjudicating a state law claim should apply the choice-of-law rules of the
    forum state in the absence of federal policy concerns.”); In re Adelphia Commc’ns Corp., 365 B.R. 24, 58
    n.136 (Bankr. S.D.N.Y. 2007) (“Where, as here, the Court is exercising bankruptcy jurisdiction over state law
    claims under 28 U.S.C. § 1334(b), the court applies the choice of law rules of the forum state to determine the
    applicable statute of limitations.”).
 144 Buchwald v. Renco Group, Inc. (In re Magnesium Corp. of Am.), 399 B.R. 722, 744 n.51 (Bankr. S.D.N.Y.

    2009).
 145 In re Gaston & Snow, 243 F.3d at 608–09. See also In re Adelphia Commc’ns Corp., 365 B.R. at 57–58

    (“[N.Y. C.P.L.R. 202] provides that where a plaintiff is not a New York resident (as here), the court should
    apply the shorter of New York’s period of limitations or the statute of limitations applicable where the
    plaintiff resides.”).
 146 See Global Financial Corp. v. Triarc Corp., 93 N.Y.2d 525, 529–31 (N.Y. 1999).

 147 Cantor Fitzgerald Inc. v. Lutnick, 313 F.3d 704, 710 (2d Cir. 2002).

 148 See id. at 711.



                                                     VII.E-23
12-12020-mg         Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                               E Pg 24 of 43




                   (2) Claim Brought In Minnesota State Court

       If a claim for breach of fiduciary duty were to be brought in Minnesota state court, a
 three-year limitations period would apply unless a specific residency carveout could be
 invoked. For claims arising after April 2004, Minnesota’s “borrowing statute” provides that
 “if a claim is substantively based . . . (1) upon the law of one other state, the limitation period
 of that state applies.”149 Accordingly, another state’s statute of limitations applies in
 Minnesota if that other state’s substantive law governs a case.150 Thus, if Delaware’s
 substantive law applies to a claim brought in a Minnesota court, the Delaware statute of
 limitation would also apply.151 Minnesota applies the internal affairs doctrine, which holds
 that “the law of the state of incorporation normally determines issues relating to the internal
 affairs of a corporation.”152 Delaware law would apply to a breach of fiduciary duty claim
 relating to ResCap in a Minnesota case, and thus there would be no conflict between
 Minnesota and Delaware law.153 Because Delaware’s substantive law would apply to breach
 of fiduciary duty claims brought in a Minnesota court, the three-year Delaware statute of
 limitations would seemingly apply to those claims.154

      However, Minnesota statute section 541.31 contains a carveout for Minnesota residents,
 which could be available with respect to a fiduciary duty claim brought by a plaintiff on
 ResCap’s behalf. Where a plaintiff is a Minnesota resident and the cause of action arises under
 the law of another jurisdiction but is time-barred under the foreign jurisdiction’s limitations
 period, the action may be brought in Minnesota if (1) the plaintiff has owned the cause of
 action since it accrued, and (2) the cause of action is not time-barred under the applicable
 149 MINN. STAT. § 541.31, 541.34 (2013). While MINN. STAT. § 541.33 (2013) provides that “[i]f the court

    determines that the limitation period of another state applicable under sections 541.31 and 541.32 is
    substantially different from the limitation period of this state and has not afforded a fair opportunity to sue
    upon, or imposes an unfair burden in defending against, the claim, the limitation period of this state applies,”
    Minnesota courts have stated that the exception or “escape clause should ‘rarely be employed’ only in
    ‘extreme cases.’” See Burks v. Abbott Labs., 639 F. Supp. 2d 1006, 1019 (D. Minn. 2009). “[T]he mere
    difference between the prescriptive time periods” is not sufficient. See id.
 150 See Huggins v. Stryker Corp., Civil No. 09-1250, 2013 WL 1191058, at *7 n.8 (D. Minn. Mar. 25, 2013);

    Whitney v. Guys, Inc., 700 F.3d 1118, 1123 n.6 (8th Cir. 2012). Note that the statute expressly does not apply
    to claims arising from incidents that occurred prior to August 1, 2004. Id.
 151 Whitney v. Guys, Inc., 700 F.3d 1118, 1126 (8th Cir. 2012).

 152 See Matson Logistics, LLC v. Smiens, Civil No, 12-400, 2012 WL 2005607, at *5 (D. Minn. June 5, 2012)

    (citing Rupp v. Thompson, No. C5-03-347, 2004 WL 3563775 (Minn. Dist. Ct. Mar. 17, 2004)); Calleros v.
    FSI Intern., Inc., 892 F. Supp. 2d 1163, 1169 n.7 (D. Minn. 2012) (“Under the ‘internal affairs’ doctrine,
    fiduciary-duty claims against FSI’s directors are governed by Minnesota law because FSI is a Minnesota
    corporation.”) (citing Atherton v. FDIC, 519 U.S. 213, 223–24, 117 S.Ct. 666, 136 L.Ed.2d 656 (1997));
    Transocean Group Holdings Pty Ltd. v. South Dakota Soybean Processors, LLC, 663 F. Supp. 2d 731, 742
    n.5 (D. Minn. 2009) (citing Potter v. Pohlad, 560 N.W.2d 389, 391 (Minn. Ct. App. 1997)).
 153 Matson Logistics, LLC v. Smiens, 2012 WL 2005607, at *6-7; Lagermeier v. Boston Scientific Corp., 2011

    WL 2912642, at *8 (D. Minn. Sept. 29, 2011).
 154 See Whitney v. Guys, Inc., 700 F.3d 1118, 1123 (8th Cir. 2012) (applying Delaware substantive law and the

    Delaware statute of limitations to a breach of fiduciary duty claim).

                                                      VII.E-24
12-12020-mg         Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               E Pg 25 of 43




 Minnesota limitations period.155 Accordingly, if ResCap were determined to be a Minnesota
 resident as of the time of accrual of the claim, the six-year statute of limitations would likely
 apply to a claim for breach of fiduciary duty brought on its behalf.156
                   (3) Potentially Applicable Statutes Of Limitations Vary
      Under Delaware law (including as may be applied to a claim brought in Minnesota state
 court), the statute of limitations for a breach of fiduciary duty claim is three years.157 By
 contrast, New York does not provide for a unitary limitations period for breach of fiduciary
 duty claims.158 Determining the applicable statute of limitations for a breach of fiduciary duty
 claim under New York law generally depends upon the requested remedy:
                   Where the relief sought is equitable in nature, the six-year
                   limitations period of N.Y. C.P.L.R. 213(1) applies. On the other
                   hand, where suits alleging a breach of fiduciary duty seek only
                   money damages, courts have viewed such actions as alleging
                   injury to property, to which a three-year statute of limitations
                   applies.159
 However, the determination may also be shaped by other factual and legal circumstances.
 Where a plaintiff does not allege fraud or the breach of a particular provision of an agreement,
 the three-year statute of limitations applies,160 but where a plaintiff alleges fraud in relation to
 a breach of fiduciary duty claim, courts apply a six-year limitations period under N.Y.
 C.P.L.R. 213(8), even if the remedy sought is monetary in nature.161
 155 See MINN. STAT. § 541.31(2) (2013).
 156 Hunt v. Nev. State Bank, 285 Minn. 77, 104 n.28, 172 N.W.2d 292, 308 n.28 (Minn. 1969) (corporation with

    its principal place of business or other significant business contacts in state is deemed resident for purposes of
    long-arm statute); United Barge Co. v. Logan Charter Serv., Inc., 237 F. Supp. 624, 629–30 (D. Minn. 1964)
    (concluding entity was a “resident[ ] of Minnesota” because it had its principal place of business as well as
    “permanent offices and employees” in the state pursuant to long-arm statute); Caddy Products, Inc. v.
    American Seating Co., No. Civ. 05-800 2005 WL 2401910, at *3 (D. Minn. Sept. 28, 2005) (“For the purposes
    of venue, however, corporations are considered to be residents of the state of their incorporation and of the
    state where they maintain their principal place of business.”).
 157 See In re Tyson Foods, Inc., 919 A.2d 563, 584 (Del. Ch. 2007) (citing 10 DEL. CODE ANN. tit. 10, § 8106

    (2008)).
 158 See Donenfeld v. Brilliant Techs. Corp., 20 Misc.3d 1139(A), at *2, 872 N.Y.S.2d 690 (Table) (N.Y. Sup.

    2008); see also Williams v. Sidley Austin Brown & Wood, L.L.P., 15 Misc.3d 1125(A), at *5, 841 N.Y.S.2d
    222 (Table) (N.Y. Sup. 2007) (citing Lonegard v. Santa Fe Indus., Inc., 70 N.Y.2d 262, 266 (N.Y. 1987)).
 159 Donenfeld, 20 Misc.3d 1139(A), at *2, 872 N.Y.S.2d 690 (Table) (N.Y. Sup. 2008) (citing N.Y. C.P.L.R.

    214[4]; Kaufman v. Cohen, 307 A.D.2d 113, 118, 760 N.Y.S.2d 157 (N.Y. App. Div. 2003) (citations
    omitted).
 160 See Donenfeld, 20 Misc.3d 1139(A), at *2, 872 N.Y.S.2d 690 (Table) (N.Y. Sup. 2008) (citing Kaszirer v.

    Kaszirer, 286 A.D.2d 598, 599, 730 N.Y.S.2d 87 (N.Y. App. Div. 2001)); see also Mejia-Ricart v. Bear
    Stearns & Co., 1996 WL 94810, at *3 (S.D.N.Y. Mar. 4, 1996) (six-year limitations period applies to contract-
    based claim for breach of fiduciary duty seeking monetary damages).
 161 See Kelly v. Legacy Benefits Corp., 34 Misc.3d 1242(A), at *9–10, 950 N.Y.S.2d 608 (Table) (N.Y. Sup. Mar. 12,

    2012); Donenfeld v. Brilliant Techs. Corp., 20 Misc.3d 1139(A), at *2, 872 N.Y.S.2d 690 (Table) (N.Y. Sup. 2008)
    (citing Kaszirer v. Kaszirer, 730 N.Y.S.2d 87 (N.Y. App. Div. 2001)).

                                                      VII.E-25
12-12020-mg          Doc 3698-24        Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                              E Pg 26 of 43




       A fiduciary duty claim must be scrutinized to assess whether the related fraud allegations
 are integral to it. “[I]f the fraud allegation is only incidental to the allegation of breach of
 fiduciary duty, and not essential to it, then the three-year statute of limitations will apply.”162
 Accordingly, “where an allegation of fraud is not essential to the cause of action pleaded
 except as an answer to an anticipated defense of the Statute of Limitations, courts ‘look for the
 reality, and the essence of the action and not its mere name.’”163 “Otherwise, fraud would be
 used as a means to litigate stale claims.”164 “The test is whether the fraud is the gravamen of
 the action, the fraud statute contemplating only those causes of action in which there would be
 no injury except for the fraud.”165

      New York courts will thus look to see if a fraud claim could survive on the facts of the
 breach of fiduciary duty claim.166 For example, in Oxbow Calcining USA Inc. v. Am. Indus.
 Partners, the court found N.Y. C.P.L.R. 213(8) to be applicable because:

                  the essence of plaintiffs’ claim is that AIP, as the holder of a
                  controlling interest in GLC, breached its fiduciary duty to ensure
                  that any self-dealing transaction between GLC and PASE would
                  be entirely fair to GLC and its shareholders, by employing bait-
                  and-switch tactics and making numerous misrepresentations to
                  GLC’s independent committee and management in order to
                  fraudulently induce GLC to enter into the [agreement].167




 162 Monaghan v. Ford Motor Co., 71 A.D.3d 848, 850, (N.Y. App. Div. 2010) (citing Kaufman v. Cohen, 60

   N.Y.S.2d 157 (N.Y. App. Div. 2003)).
 163 Kaufman v. Cohen, 60 N.Y.S.2d 157, 165 (N.Y. App. Div. 2003) (quoting Brick v. Cohn–Hall–Marx Co., 276

   N.Y. 259, 264).
 164 Kaufman, 60 N.Y.S.2d 157, 165 (N.Y. App. Div. 2003) (citing Powers Mercantile Corp. v. Feinberg, 490

   N.Y.S.2d 190, aff’d 67 N.Y.2d 981)). N.Y. C.P.L.R. 213(8) would not apply to a fiduciary duty claim based
   on failure to use care because fraud is not integral to such a claim. See Carbon Capital Mgt., LLC v. American
   Express Co., 88 A.D.3d 933, 932 N.Y.S.2d 488 (N.Y. App. Div. 2011) (“the claim that [defendant] breached a
   fiduciary duty to [plaintiff] by failing to diligently ascertain Derivium’s fitness as a lender is not based upon
   actual fraud and, therefore, that claim is governed by the three-year statute of limitations, and is time-barred”).
 165 J. GEBAUER ET AL., CARMODY-WAIT 2D NEW YORK PRACTICE WITH FORMS, § 13:169 (2013); see also

   Paolucci v. Mauro, 903 N.Y.S.2d 584, 587 (N.Y. App. Div. 2010).
 166 See Kaufman, 60 N.Y.S.2d 157, 167 n.4 (N.Y. App. Div. 2003) (“The timeliness of plaintiffs’ breach of

   fiduciary duty claim, therefore, turns on the viability of plaintiffs’ fraud cause of action, an issue to which we
   now turn.”); IDT Corp. v. Morgan Stanley Dean Witter & Co., 12 N.Y.3d 132, 140, (N.Y. 2009) (not applying
   N.Y. C.P.L.R. 213(8) because the court did not “conclude that IDT’s breach of fiduciary duty cause of action
   is a sufficiently pleaded fraud action”).
 167 Oxbow Calcining USA Inc. v. Am. Indus. Partners, 96 A.D.3d 646, 651, 948 N.Y.S. 2d 24, 31 (1 Dep’t. 2012)

   (citing Carbon Capital Mgt., LLC v. American Express Co., 88 A.D.3d 933, 939–40, 932 N.Y.S.2d 488, 495
   (N.Y. App. Div. 2011); Monaghan v. Ford Motor Co., 71 A.D.3d 848, 897 N.Y.S.2d 482 (N.Y. 2010)).

                                                     VII.E-26
12-12020-mg         Doc 3698-24           Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                                E Pg 27 of 43




 Similarly, in Carbon Capital Mgt., LLC v. American Express Co., the court held that:

                   the claims that [defendant] breached his fiduciary duty to
                   [plaintiff] by misrepresenting Derivium’s legitimacy as a lender,
                   the tax consequences of the alleged loan, and whether Derivium
                   would hold the floating-rate notes as collateral are, in essence,
                   fraud-based claims, and the Supreme Court correctly determined
                   that these claims were governed by the six-year statute of
                   limitations, and were timely.168

      In Kaufman v. Cohen, in determining whether N.Y. C.P.L.R. 213(8) applied to a breach
 of fiduciary duty claim, the court ruled that “instead of an affirmative misrepresentation, a
 fraud cause of action may be predicated on acts of concealment where the defendant had a
 duty to disclose material information . . . . Thus, where a fiduciary relationship exists, ‘the
 mere failure to disclose facts which one is required to disclose may constitute actual fraud,
 provided the fiduciary possesses the requisite intent to deceive.’”169 In addition, where the
 claim for breach of fiduciary duty is based on actual fraud, “that is, fraud claims alleging an
 intent to deceive,” the discovery rule applies, meaning that the claim accrues “only upon the
 plaintiff’s actual or constructive discovery of the facts constituting the fraud.”170 “Claims of
 constructive fraud, i.e., a fiduciary’s simple nondisclosure of facts it is obligated to disclose,
 accrue upon breach.”171

      Application of New York’s three-year or six-year limitations period may also hinge on
 the corporate status of the nominal plaintiff. Claims for breach of fiduciary duty brought on
 behalf of a corporation against fiduciaries of that corporation will be governed by the six-year
 statute of limitations of N.Y. C.P.L.R. 213(7), regardless of whether such claims are legal or
 equitable in nature.172 A bankruptcy estate trustee can bring claims on behalf of a debtor
 corporation under the six-year N.Y. C.P.L.R. 213(7) limitations period.173




 168 932 N.Y.S.2d 488 (N.Y. App. Div. 2011). However, “the claim that [defendant] breached a fiduciary duty to

    [plaintiff] by failing to diligently ascertain Derivium’s fitness as a lender is not based upon actual fraud and,
    therefore, that claim is governed by the three-year statute of limitations, and is time-barred.” Id.
 169 60 N.Y.S.2d 157, 165 (N.Y. App. Div. 2003) (citing Whitney Holdings, Ltd. v. Givotovsky, 988 F. Supp. 732,

    748–49 (S.D.N.Y. 1997)).
 170 Whitney Holdings, Ltd. v. Givotovsky, 988 F. Supp. 732, 744 (S.D.N.Y. 1997).

 171 Id.

 172 See Oxbow Calcining USA Inc. v. Am. Indus. Partners, 948 N.Y.S.2d 24, 31 (N.Y. App. Div. 2012).

 173 See Pereia v. Centel Corp. (In re Argo Commc’ns Corp.), 134 B.R. 776, 786–87 (Bankr. S.D.N.Y. 1991)

    (“[W]e agree with [the] Trustee that the six-year limitations period applies here . . . . It is a basic principle of
    bankruptcy law that title to a debtor’s causes of action vest in the trustee at the time of his or her appointment.
    In the matter sub judice, [the] Trustee was empowered to bring actions that the corporation itself could have
    initiated in its own name but for the filing of a bankruptcy petition.”).

                                                       VII.E-27
12-12020-mg        Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              E Pg 28 of 43




       With respect to application of either the three-year or six-year limitations period under
 New York law, New York statutes of limitations are narrowly construed.174 “It is well settled
 that a statute of limitations should not be applied to cases not clearly within its provisions, nor
 should it be extended by construction.”175 Accordingly, a court applying New York law would
 likely find that N.Y. C.P.L.R. 213(7) does not apply to claims brought on behalf of a limited
 liability company. As the Bankruptcy Court for the Southern District of New York has stated:
                  N.Y. C.P.L.R. 213(7), by its terms, only applies to a actions [sic]
                  brought by or on behalf of a “corporation.” In the present matter,
                  the Debtor is not a corporation; it is a limited liability company,
                  formed in New York, and, as such, subject to the New York
                  Limited Liability Company Law (the “NYLLCL”). None of the
                  cases cited by the Trustee applies N.Y. C.P.L.R. 213(7) to an
                  entity other than a corporation, and the Trustee’s argument is
                  devoid of the slightest merit.176
 The court’s determination comports with the general strict applicability of N.Y. C.P.L.R.
 213(7).177 Significantly, New York courts have not yet addressed whether N.Y. C.P.L.R.
 213(7) would apply where the nominal plaintiff was a corporation when the fiduciary duty
 claim accrued but had converted to a limited liability company by the time the claim was
 brought.
     2. Potential Claims Exist For Breaches Of Duties By ResCap Fiduciaries
              a. Potential Fiduciary Duty Claims Relating To 2006 Bank Restructuring
      Dual-affiliated ResCap fiduciaries may have engaged in misconduct related to securing
 the approval by Independent Directors Jacob and Melzer of the 2006 Bank Restructuring.178
 There is evidence that ResCap and AFI insiders, in an effort to facilitate the transaction,
 purposefully concealed certain material information from the Independent Directors relating to
 the option of ResCap obtaining voting interests in the restructured bank. The Independent
 Directors were led to believe that closing of the Cerberus transaction, and obtaining the
 expected credit rating boost for ResCap that would flow from the transaction, hinged on
 approval of the 2006 Bank Restructuring on the specific terms presented to them.
 174 See Sunken Pond Estates Homeowners Ass’n, Inc. v. Sunken Pond Estates, 36 Misc.3d 1209(A), 954 N.Y.S.2d

   762 (Table), at *3 (N.Y. Sup. Ct. 2012).
 175 Id. (citing N.Y. Med. & Diagnostic Ctr., Inc. v. Shah, 941 N.Y.S.2d 460, 468 [2012 N.Y. Slip Op 22052]).

 176 O’Connellv. Shallo (In re Die Fliedermaus LLC), Bankruptcy No. 01-42518, 2005 WL 3789333, at *1
   (Bankr. S.D.N.Y. May 6, 2005).
 177 See Roslyn Union Free Sch. Dist. v. Barkan, 950 N.E.2d 85, 88 (N.Y. 2011) (a school district qualifies as a

   corporation within the meaning of N.Y. C.P.L.R. 213(7), based on a straightforward statutory analysis of
   terms found in General Construction Law § 65 and defined in General Construction Law § 66); Sunken Pond
   Estates Homeowners Ass’n, Inc. v. Sunken Pond Estates, 36 Misc.3d 1209(A), 954 N.Y.S.2d 762 (Table), at
   *3 (N.Y. Sup. Ct. 2012) (N.Y. C.P.L.R. 213(7) not applicable to a condominium because, unlike a
   corporation, a condominium is not an entity recognized at law).
 178 See Sections V.A and VII.L.1 (discussing the facts surrounding the 2006 Bank Restructuring).



                                                    VII.E-28
12-12020-mg         Doc 3698-24         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              E Pg 29 of 43




 They were not informed, however, that achieving those objectives did not require ResCap to
 relinquish efforts to obtain a voting interest in Ally Bank or negotiate for improved terms.
      Thus, the Independent Directors’ approval of the 2006 Bank Restructuring was arguably
 procured on false premises. The reality is that ResCap did not receive reasonably equivalent
 value in the transaction primarily because it was not adequately compensated for the non-
 voting nature of the Ally Bank shares that it received in return for the assets it surrendered.179
 Yet, despite troubling factual circumstances surrounding the 2006 Bank Restructuring,
 formidable legal obstacles exist to the viability of a breach of fiduciary duty claim relating to
 it. While a close question, the Examiner concludes it is more likely than not that a claim for
 breach of duty by ResCap fiduciaries relating to the 2006 Bank Restructuring would not
 prevail.
                   (1) ResCap Fiduciaries’ Duty To Disclose Material Information To Fellow
                       Fiduciaries
      The analysis of a claim for breach of the duty of disclosure, which is subsumed within
 the duty of loyalty, is premised on the conclusion that dual-affiliated ResCap fiduciaries who
 potentially breached their duties would not be entitled to invoke the protection of the business
 judgment rule. The context of a transaction between a parent and subsidiary, in which ResCap
 directors and officers had affiliations to parties on both sides of the transaction, would trigger
 application of the intrinsic fairness test.180 The lack of “disinterestedness” of the dual-affiliated
 ResCap fiduciaries would rebut the presumptive application of the business judgment rule.181
      As discussed in Section VII.E.1.b(2)(a), the fiduciary duty of loyalty encompasses a duty
 of disclosure and candor. Directors generally must deal candidly with their fellow directors,
 and officers must inform directors of information material to a company’s affairs.182 Any such
 duty of disclosure would be owed by fiduciaries to corporate entities rather than to
 individuals.183 ResCap fiduciaries, most of them with affiliations to AFI, arguably breached
 that duty.
      The Independent Directors were never informed by their fellow ResCap fiduciaries that
 100% AFI voting control of IB Finance was not inevitable and was not mandated by the terms
 of the Cerberus PSA.184 As reflected in David Applegate’s April 24, 2006 memorandum to
 179 See Section V.A.2.b (analyzing reasonably equivalent value with respect to the 2006 Bank Restructuring).

 180 See Section VII.E.1.b(2)(a).

 181 See Section VII.E.1.g(1).

 182 See Big Lots Stores, Inc. v. Bain Capital Fund VII, LLC, 922 A.2d 1169, 1184 (Del. Ch. 2006); Eurofins

    Pharma US Holdings v. BioAlliance Pharma SA, 623 F.3d 147, 158 (3d Cir. 2010); HMG/Courtland
    Properties, Inc. v. Gray, 749 A.2d 94, 119 (Del. Ch. 1999) (citing Mills Acquisition Co. v. Macmillan, Inc.,
    559 A.2d 1261, 1283 (Del. 1989)); Hampshire Group, Ltd. V. Kuttner, C.A. No. 3607-VCS, 2010 WL
    2739995, at *13 n.85 (Del. Ch. July 12, 2010); see also Megan Wischmeier Shaner, Restoring The Balance Of
    Power In Corporate Management: Enforcing An Officer’s Duty Of Obedience, 66 BUS. LAW. 27, 47 (2010).
 183 See Section VII.E.1.f(1)(a) (discussing duties owed by fiduciaries of a solvent wholly owned subsidiary).

 184 For a complete exposition of the facts relevant to the ResCap insiders’ potential breach of the duty of
    disclosure, see Sections V.A.1.a and VII.L.1.

                                                     VII.E-29
12-12020-mg         Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                               E Pg 30 of 43




 AFI President William Muir, ResCap management had misgivings about losing its controlling
 interest in the bank. Indeed, Applegate proposed to Muir an alternative structure for IB
 Finance through which ResCap—and not AFI—would control at least 51% of the restructured
 bank.185 Days earlier, on April 20, 2006, David Marple had stated in a memorandum to
 various ResCap and AFI directors that “ResCap will not be given any voting control with
 regard to . . . material business activities or the entity itself” and that it is “not reasonable to
 believe that ResCap’s leadership would agree to transfer a material business to a third-party
 under a similar agreement.”186 Marple had further opined that “the restructuring of [Ally]
 Bank as currently proposed cannot reasonably be deemed a transaction to which parties at
 arm’s-length would agree” as was required by the Operating Agreement.187 Jacob and Melzer,
 whose approval of waivers to the 2005 Operating Agreement was a prerequisite to closing of
 the 2006 Bank Restructuring, and their counsel at Bryan Cave, were never informed about any
 of those facts.188 When Jacob and Melzer were presented with the proposed terms of the 2006
 Bank Restructuring on May 4, 2006, via a memorandum from ResCap Board Chair (and AFI
 Board Chair) Eric Feldstein, 100% AFI voting control of the restructured bank was already a
 fait accompli.189 Jacob and Melzer, and the rest of the ResCap Board, ultimately approved the
 proposed transaction without dissent on November 20, 2006, and ResCap thereby obtained a
 non-voting interest in the restructured bank.190

      As a factual matter, it is clear that various dual-affiliated ResCap fiduciaries who were
 aware that the Cerberus PSA did not preclude granting ResCap a voting interest in IB Finance
 did not disclose that material information to the Independent Directors to help inform the
 Independent Directors’ consideration of and decision-making regarding the proposed
 transaction. Jacob and Melzer never found out that alternative bank ownership structures were
 viable. Among other opportunities by ResCap fiduciaries to inform the Independent Directors
 of such information in advance of the ResCap Board meeting at which the 2006 Bank
 Restructuring was approved, Marple, ResCap’s then General Counsel, had a specific occasion
 to do so.

      On May 10, 2006, not long after Marple’s and Applegate’s respective memoranda
 expressing concerns about the terms of the proposed transaction, Schenk, counsel to Jacob and
 Melzer at Bryan Cave, sent a list of issues to Marple raising questions about the transaction.
 Apparently accepting the false premise that the specific ownership structure of IB Finance as
 185 Memorandum, ILC Ownership and Control, dated Apr. 24, 2006 [EXAM11248641].

 186 Memorandum, GMAC Bank Restructuring, dated Apr. 20, 2006, at 4 [EXAM11248642].

 187 Id.

 188 Int. of T. Jacob, Apr. 17, 2013, at 51:15–52:9, 60:14–16, 70:9–22, 74:24–75:3, 77:2–8; Int. of T. Melzer, Mar. 22,

    2013, at 62:25–63:12, 89:16–25, 91:17–23; Int. of E. Schenk, Apr. 24, 2013, at 35:20–36:6, 44:13–20, 47:5–10,
    54:18–55:14, 86:17–87:10.
 189 Memorandum,Proposed Restructuring of GMAC U.S. Banking Entities, dated May 5, 2006, at 1
    [EXAM10258913] (attached to E-mail from K. Sabatowski (May 4, 2006) [EXAM10258912]).
 190 Minutes
           of a Special Meeting of the Board of Directors of Residential Capital, LLC, Nov. 20, 2006
    [RC00016852].

                                                      VII.E-30
12-12020-mg         Doc 3698-24         Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              E Pg 31 of 43




 reflected in the proposed transaction was a necessary byproduct of the Cerberus transaction,
 Schenk stated that “[a]lthough not a direct request for information, the independent directors
 have noted and are considering the impact of the difference between the economic stake of
 ResCap and the voting rights in the IB / directorship positions.”191 Notably, that issue in
 Schenk’s list was the only one of nine “questions” not actually framed in the form of a
 question. Marple responded to Schenk’s “question” by simply stating: “Please let me know if
 you would like any further information in connection with your consideration of this
 matter.”192 Marple did not use the back-and-forth exchange with the Independent Directors’
 counsel to inform them of ResCap’s prior endorsement of the option of ResCap obtaining a
 voting interest in the bank nor of Marple’s own previously expressed concern about the arm’s-
 length nature of the transaction.

      However, as a technical legal matter it is uncertain that ResCap fiduciaries in possession
 of the withheld information had a fiduciary duty to disclose it to the Independent Directors. At
 the time of the events surrounding the 2006 Bank Restructuring, ResCap was a solvent
 entity.193 As a threshold matter, fiduciary duties of the directors and officers of a solvent
 wholly owned subsidiary generally are owed to the subsidiary’s sole shareholder (here, AFI),
 although some cases have stated that fiduciary duties are also owed to the subsidiary on whose
 board they sit.194 Only if the inside fiduciaries had a duty of loyalty owed to ResCap (in
 addition to a duty to AFI)—which they may have had in light of certain legal authority
 indicating that they also owed fiduciary duties to the subsidiary—could they arguably have
 breached that duty in failing to disclose material information to Jacob and Melzer,195 thereby
 wholly and improperly abandoning ResCap’s interests in favor of AFI’s.

      Moreover, even if the inside fiduciaries were obligated to consider ResCap’s interests
 and not entitled to completely forsake them in favor of AFI’s (which is uncertain as a matter
 of law), cases applying the duty of disclosure toward a finding of breach of fiduciary duty
 (described in Section VII.E.1.b(2)(a)) have generally predicated that finding on the breaching
 fiduciary having obtained a personal benefit in the process of failing to disclose information.
 That type of direct personal self-dealing appears to be absent from this situation, although
 indirect benefits would accrue to AFI-affiliated ResCap fiduciaries through a transaction that
 favored AFI’s interests at ResCap’s expense. Thus, although information concerning a
 substantial transaction appears to have been concealed from the Independent Directors, the
 Examiner concludes that, while a close question, it is more likely than not that the inside
 fiduciaries would not be charged with a duty of disclosure owed to ResCap, and so could not
 have breached a duty that likely was unenforceable.
 191 E-mail from E. Schenk to D. Marple (May 10, 2006) [JACO.B000010].

 192 Memorandum from D. Marple to E. Schenk (May 12, 2006) [ALLY_0401600].

 193 See Section VI (discussing ResCap’s financial condition at the time of the 2006 Bank Restructuring).

 194 SeeSection VII.E.1.f(1)(a) (discussing split in authority relating to the issue of whether fiduciaries of a
    solvent wholly owned subsidiary owe duties exclusively to the parent entity or also to the subsidiary).
 195 There appears to be no clear legal authority to support a potential argument that a duty of disclosure ran from

    one ResCap fiduciary to another, rather than from the fiduciaries to either or both of the parent and subsidiary
    entities.

                                                     VII.E-31
12-12020-mg         Doc 3698-24         Filed 05/13/13 Entered 05/13/13 17:08:13                   Section VII
                                              E Pg 32 of 43




      Further, even if an enforceable fiduciary duty was breached, it was somewhat mitigated by
 the incomplete diligence by the Independent Directors and their counsel in investigating and
 pursuing the viability of ResCap obtaining a voting share in the restructured bank. Jacob and
 Melzer were clearly aware that ResCap was receiving only a non-voting interest, and were never
 misled about the ultimate terms of ownership of Ally Bank through the transaction. Yet the
 Independent Directors’ own assessment of that ownership outcome was not exhaustive. The
 Independent Directors solicited no fairness opinion or third-party valuation report in connection
 with the proposed transaction, which could have further highlighted the voting rights issue by
 exposing that there was a shortfall between what ResCap was getting and giving up. And
 Schenk’s noting to Marple the Independent Directors’ consideration of the voting rights issue,
 without posing a specific question inquiring whether that transaction term was negotiable, was
 not framed optimally to elicit disclosure of the information that remained concealed. Marple’s
 polite answer was technically responsive to Schenk’s issue, which posed no question.
 Nevertheless, the answer did not provide information directly pertinent to the underlying issue,
 which Marple and other ResCap fiduciaries persistently withheld from Jacob and Melzer.
                   (2) Fiduciary Duty Claims May Be Time-Barred
       Even if ResCap fiduciaries (including Marple, Applegate, Feldstein, Walker, and Khattri)
 had a duty owed to ResCap to disclose information to, and deal candidly with, the Independent
 Directors regarding the potential viability of ResCap obtaining a voting interest in the
 restructured bank, and assuming that they violated an enforceable duty of disclosure (as a
 species of their duty of loyalty), a related claim for breach of fiduciary duty may be time-barred.
       Assuming claims were brought in New York federal court, New York’s statute of
 limitations may bar breach of fiduciary duty claims arising from the 2006 Bank Restructuring,
 which would be subject to New York’s choice-of-law rules governing statutes of
 limitations.196 New York’s borrowing statute, N.Y. C.P.L.R. 202, requires that claims brought
 in New York by a non-resident be timely under the statutes of limitations of both New York
 and the state where the claim accrued.197 As discussed below, the applicable New York statute
 of limitations for a breach of fiduciary duty claim is three years unless a plaintiff could show
 that (1) the claim is entitled to the six-year limitations period applicable to a corporation;
 (2) the claim is based on fraudulent conduct; or (3) the claim sought only an equitable remedy.
 Under a three-year limitations period (pursuant to New York law or to choice-of-law
 principles applied to a claim brought in Minnesota state court),198 any claim based on 2006
 conduct would be untimely. A fiduciary duty claim relating to the 2006 Bank Restructuring
 could possibly be timely only if a six-year limitations period applied, and even then would
 face challenging timeliness hurdles.
 196 See Stanek Corp. v. Dev. Specialists, Inc. (In re Coudert Bros. LLP), 673 F.3d 180, 188–89 (2d Cir. 2012)

    (citing Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496, (1941)); Bianco v. Erkins (In re Gaston &
    Snow), 243 F.3d 599, 604, 609 (2d Cir. 2001).
 197 See Oxbow Calcining USA Inc. v. Am. Indus. Partners, 948 N.Y.S.2d 24, 31 (N.Y. App. Div. 2012) (citing

    Global Fin. Corp. v. Triarc Corp., 93 N.Y.2d 525, 528, (N.Y. 1999)).
 198 Aclaim for breach of fiduciary duty brought in Minnesota state court could be deemed timely under
    Minnesota’s borrowing statute if the residency carveout were determined to apply. See Section VII.E.1.j(2).

                                                     VII.E-32
12-12020-mg        Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                              E Pg 33 of 43




      A corporation’s residence for purposes of N.Y. C.P.L.R. 202 is its principal place of
 business, rather than its state of incorporation.199 The principal place of business:

                  [i]s the place that Courts of Appeals have called the
                  corporation’s “nerve center.” And in practice it should normally
                  be the place where the corporation maintains its headquarters—
                  provided that the headquarters is the actual center of direction,
                  control, and coordination, i.e., the “nerve center,” and not
                  simply an office where the corporation holds its board meetings
                  (for example, attended by directors and officers who have
                  traveled there for the occasion).200

 A New York court may not apply N.Y. C.P.L.R. 202 if “a plaintiff is either incorporated in
 New York or maintains its principal place of business there.”201 Although ResCap is a limited
 liability company, the same standard used for determining residency will likely be applied.202
 In cases relating to alternate forms of business entities, New York courts have determined that
 residency for purposes of N.Y. C.P.L.R. 202 is generally where the principal place of business
 is located.203

      Under N.Y. C.P.L.R. 202, residency is determined as of the date the action accrued. See
 THC Holdings Corp. v. Chinn, 1998 WL 50202, at *5 (S.D.N.Y. Feb. 06, 1998) (“Under
 CPLR § 202, residency is determined at the date that the action accrued”) (citing Besser v.
 E.R. Squibb & Sons, Inc., 146 A.D.2d 107, 539 N.Y.S.2d 734, 739 (1st Dep’t 1989), aff’d, 75
 N.Y.2d 847, 552 N.Y.S.2d 923, 552 N.E.2d 171 (N.Y. 1990)); Braune v. Abbott Laboratories,
 895 F. Supp. 530, 558 (E.D.N.Y. 1995) (“The controlling date for determining plaintiffs’
 199 See McMahan & Co. v. Donaldson, Lufkin & Jenrette Sec. Corp., 727 F. Supp. 833, 834 (S.D.N.Y. 1989) (citing

   Allegaert v. Warren, 480 F. Supp. 817, 820 (S.D.N.Y. 1979)); Pereira v. Cogan, No. 00 Civ. 619 2001 WL
   243537, at *18 (S.D.N.Y. Mar. 8, 2001) (finding that a corporation’s state of residence, for purposes of the
   borrowing statute is New York, was where it maintained its principal place of business); Brinckerhoff v. JAC
   Holding Corp., 263 A.D.2d 352, 352–353 (N.Y. App. Div. 999) (finding applicable statute of limitations of
   derivative breach of fiduciary duty claim to be Georgia where the state of incorporation was Delaware, but the
   principal place of business was Georgia); Oxbow Calcining USA Inc. v. Am. Indus. Partners, 948 N.Y.S.2d 24,
   31 (N.Y. App. Div. 2012).
 200 Hertz Corp. v. Friend, 130 S.Ct. 1181, 1192, (2010); see also Albstein v. Six Flags Entm’t Corp., No. 10 Civ.

   5840 2010 WL 4371433, at *1 (S.D.N.Y. Nov. 4, 2010). Note that residency is a factual determination not to
   be decided on a motion to dismiss. See Oxbow, 948 N.Y.S.2d at 3.
 201 In re Countrywide Fin. Corp. Mortg. Backed Secs. Litig. 834 F. Supp. 2d 949, 958 (C.D. Cal. 2012) (“The

   goal of the statute is to prevent foreign claimants from flooding into New York courts to take advantage of
   New York’s favorable limitations period . . . (in the context the borrowing statute’s residency requirement) a
   person may have more than one residence . . . Accordingly, the Court will not apply the borrowing statute if a
   plaintiff is either incorporated in New York or maintains its principal place of business there.”).
 202 See Kat House Prod., LLC v. Paul, Hastings, Janofsky & Walker, LLP, 897 N.Y.S.2d 90 (N.Y. App. Div.

   2010) (limited liability company plaintiff’s residence for purposes of N.Y. C.P.L.R. 202 was California, where
   its principal place of business was located).
 203 See id.; Proforma Partners, LP v. Skadden Arps Slate Meagher & Flom, LLP, 720 N.Y.S.2d 139, 140 (N.Y.

   App. Div. 2001).

                                                    VII.E-33
12-12020-mg         Doc 3698-24           Filed 05/13/13 Entered 05/13/13 17:08:13                         Section VII
                                                E Pg 34 of 43




 residence [for borrowing statute purposes] is the date on which the cause of action accrued[,]
 not the date when the action is commenced.”). In 2006, ResCap’s principal place of business
 was Minnesota, where its headquarters and principal executive offices were located.204
      Claims for breach of fiduciary duty accrue “where the plaintiff resides and sustains the
 economic impact of the loss.”205 Courts will look at where a plaintiff “most ‘acutely’ sustained
 the loss,” and ask “who became poorer and where did they become poorer,”206 rather than
 asking where directors met or voted.207 The potential breach of fiduciary duty claims against
 ResCap’s officers and directors accrued in Minnesota, where ResCap maintained its principal
 executive offices during the period of the 2006 Bank Restructuring. Minnesota is effectively
 where ResCap’s “officers direct[ed], control[ed], and coordinate[d] the corporation’s
 activities.”208
      Minnesota applies a six-year statute of limitations to fiduciary duty claims,209 and a claim
 brought on ResCap’s behalf could be timely under Minnesota’s choice-of-law law
 principles.210 As noted above, however, a fiduciary duty claim in a New York federal court
 under N.Y. C.P.L.R. 202 must also be timely under New York’s statute of limitations rules.
     Although a close question, the six-year statute of limitations set forth in N.Y. C.P.L.R.
 213(7) likely does not apply here because it is restricted by its terms to actions brought by a
 corporation. ResCap, while previously a corporation, since October 24, 2006 has been a
 204 See Residential Capital Corp. Current Report (Form 10-K) (Mar. 28, 2006), at 1, 3; Residential Capital, LLC,

     Current Report (Form 10-K) (March 13, 2007), at 1, 3; Residential Capital, LLC, Current Report (Form 10-K)
     (Feb. 27, 2008), at 1, 4.
 205 Oxbow Calcining USA Inc. v. Am. Indus. Partners, 948 N.Y.S.2d 24, 31 (N.Y. App. Div. 2012) (citing Global

     Fin. Corp. v. Triarc Corp., 93 N.Y.2d 525, 529 (N.Y. 1999)); see also Cantor Fitzgerald Inc. v. Lutnick, 313
     F.3d 704, 710 (2d Cir. 2002). There is an “extremely rare” exception to the rule that the harm occurs where
     the plaintiff resides. See In re Countrywide Financial Corp. Mortgage-Backed Securities Litig., 834 F. Supp.
     2d 949, 959 (C.D. Cal. 2012) (applying N.Y. C.P.L.R. 202). In these instances, it is the plaintiff who has the
     burden to demonstrate that extraordinary circumstances justify a departure from the standard rule. See id. In
     determining whether a plaintiff has met this burden, the court must consider all relevant factors. See id. For
     example, the “financial base” doctrine may apply [w]here a plaintiff ‘maintains a separate financial base’ and
     where the impact of the financial loss is felt at that location.” However, the Countrywide court made clear that
     only two cases could be identified where the exception was applied. See Countrywide, 628 F. Supp. 2d at 960
     n.11. Because these extraordinary circumstances do not appear to be present in this case, such an exception
     would likely not apply.
 206 Countrywide, 834 F. Supp. 2d at 957 (citing Global Fin. Corp., 93 N.Y.2d 530).

 207 If a corporation is authorized to do business in New York but does not have its principal place of business

     there, those facts are generally insufficient to deem the corporation a New York resident for purposes of N.Y.
     C.P.L.R. 202. See Allegaert v. Warren, 480 F. Supp. 817, 820 (1979). Accordingly, if directors met and voted
     in a state other than the state of its incorporation or principal place of business, the action would generally not
     accrue in that state. See Sompo Japan Ins. Co. of Am. v. Travelers Indem. Co., No. 118223/2003, 2004 WL
     5487929, at *1 (Sup. Ct. N.Y. July 6, 2004) (“[A] foreign corporation will not be held a resident for purposes
     of the borrowing statute based on the mere fact that it is licensed to do business or is doing business in New
     York.”).
 208 Hertz Corp. v. Friend, 130 S.Ct. 1181, 1192 (2010).

 209 See MINN. STAT. § 541.05 (2013).

 210 See Section VII.E.1.j(2).



                                                       VII.E-34
12-12020-mg           Doc 3698-24       Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                              E Pg 35 of 43




 limited liability company.211 Statutes of limitations are narrowly construed in New York,212
 and application of N.Y. C.P.L.R. 213(7) has been expressly rejected in the LLC context.213 As
 noted previously, however, the issue of whether N.Y. C.P.L.R. 213(7) applies where the
 plaintiff was a corporation when the claim (arguably) accrued, but a limited liability company
 when the claim was brought, has not been squarely addressed. However, the narrow
 construction of New York statutes of limitations likely militates against application of N.Y.
 C.P.L.R. 213(7) in the circumstance of ResCap’s transition during the relevant period from a
 corporation to an LLC.214

       A six-year limitations period is also potentially available under New York law, pursuant
 to N.Y. C.P.L.R. 213(8), where a plaintiff alleges fraud as integral to a fiduciary duty claim.215
 To trigger application of N.Y. C.P.L.R. 213(8), fraud allegations must be essential and not
 incidental to the claim for breach of fiduciary duty, and a fraud claim must be predicated on a
 duty to disclose the withheld information.216 Material information was withheld from the
 Independent Directors, who relied on the good-faith conduct of the ResCap directors and
 officers to provide them with thorough and honest information for purposes of decision-
 making regarding proposed Affiliate Transactions. Jacob and Melzer were never apprised of
 Marple’s conclusions regarding the proposed transaction, of Applegate’s promotion of the
 option of ResCap retaining a voting share in the restructured bank, or that the Cerberus
 transaction did not predetermine an Ally Bank ownership result for ResCap. However, with
 respect to fiduciary duty claims relating to the 2006 Bank Restructuring, although a close call,
 it is more likely than not that N.Y. C.P.LR. 213(8) would not apply. Although ResCap
 fiduciaries concealed material information from the Independent Directors, they likely owed
 no enforceable fiduciary duty to disclose such information.217 In addition, any related fraud
 claim would likely be subject to successful affirmative defenses.218




 211 See Residential Capital, LLC, Current Report (Form 8-K) (Oct. 24, 2006).

 212 See Sunken Pond Estates Homeowners Ass’n, Inc. v. Sunken Pond Estates, 36 Misc.3d 1209(A), at *3 (N.Y.

    Sup. Ct. 2012).
 213 See In re Die Fliedermaus LLC, 2005 WL 3789333, at *1.

 214 In addition, as discussed below, a claim for breach of fiduciary duty relating to the 2006 Bank Restructuring

    arguably accrued after October 24, 2006, i.e., after ResCap had already converted from a corporation to an
    LLC.
 215 See Oxbow Calcining USA Inc. v. Am. Indus. Partners, 948 N.Y.S.2d 24, 31 (N.Y. App. Div. 2012) (citing

    IDT Corp. v. Morgan Stanley Dean Witter & Co., 12 N.Y.3d 132, 139 (N.Y. 2009)).
 216 See Monaghan v. Ford Motor Co., 71 A.D.3d 848, 850 N.Y.S.2d 482 (N.Y. App. Div. 2010) (citing Kaufman

    v. Cohen, 307 A.D.2d 113, 60 N.Y.S.2d 157 (N.Y. App. Div. 2003)).
 217 See Section VII.E.2.a(1).

 218 See Section VII.E.I.j(3) (discussing legal standards for application of N.Y. C.P.L.R. 213(8)); Section VII.L.1.

    (discussing the viability of a fraud claim against AFI related to the 2006 Bank Restructuring, including the
    applicability of potentially successful affirmative defenses).

                                                     VII.E-35
12-12020-mg          Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                 Section VII
                                                E Pg 36 of 43




      If recovery on a claim for breach of fiduciary duty were limited to equitable remedies
 under N.Y. C.P.L.R. 213(1), a plaintiff could avail itself of the six-year limitations period.219
 However, a plaintiff pursuing a fiduciary duty claim would likely seek monetary damages, as
 equitable remedies may not be available,220 and therefore would need to invoke either N.Y.
 C.P.L.R. 213(7) or N.Y. C.P.L.R. 213(8) to gain the benefit of the longer limitations period.

       Yet even if a six-year limitations period were available under New York law through
 application of (1) N.Y. C.P.L.R. 213(7); (2) N.Y. C.P.L.R. 213(8); or (3) N.Y. C.P.L.R.
 213(1), the timeliness of a fiduciary duty claim relating to the 2006 Bank Restructuring would
 still not be guaranteed. To be timely, a fiduciary duty claim would need to have accrued no
 earlier than May 14, 2006 (i.e., six years before the Petition Date).221 Such a claim generally
 accrues, and the limitations period begins to run, upon the date of the alleged breach,222 which
 occurs “as soon as the claim becomes enforceable, i.e., when all the elements of the tort can be
 truthfully alleged in a complaint.”223

      A fiduciary duty claim relating to the 2006 Bank Restructuring arguably accrued as early
 as May 4, 2006, when Feldstein’s memorandum was sent to the Independent Directors
 outlining the terms of the proposed transaction, which did not reference the option of ResCap
 retaining a voting interest in the restructured bank despite the fact that various ResCap insiders
 (including Applegate and Marple) had discussed that option shortly before delivery of the
 memorandum. That date marks the initial occasion of ResCap insiders’ withholding of
 information relating to the transaction, which they sought to persuade Jacob and Melzer to
 approve. If the claim accrued on May 4, 2006, it is time-barred even with the benefit of a six-
 year limitations period.

       Yet, even if the claim accrued as early as May 4, 2006, through application of the
 “continuing wrong” doctrine224 arguably the breach continued until the ResCap Board
 approved the 2006 Bank Restructuring on November 20, 2006, as the information regarding
 the transaction that was concealed from the Independent Directors could still have been
 disclosed at any time in advance of that Board approval. For example, the withheld
 information could have been disclosed by Marple on May 12, 2006 in response to Schenk’s
 list of questions; by Walker on November 20, 2006 in his report to the ResCap Board
 regarding the proposed transaction before the Board approved it; and on any date in the
 several intervening months when Jacob and Melzer were considering the merits of the
 transaction, including several dates on which written communications regarding the
 219 See Section VII.E.1.j(3).

 220 See Section VII.I (discussing viability of constructive trust as potential remedy).

 221 Claims brought on behalf of ResCap’s estate could invoke the benefit of tolling pursuant to the Bankruptcy

    Code. See 11 U.S.C. § 108(c).
 222 See Sunken Pond Estates Homeowners Ass’n, Inc. v. Sunken Pond Estates, Inc., 36 Misc.3d 1209(A), at *3

    (N.Y. Sup. Ct. June 21, 2012).
 223 Kelly v. Legacy Benefits Corp., 34 Misc.3d 1242(A), at *12 (N.Y. Sup. Ct. Mar. 12, 2012).

 224 See Section VII.E.1.c.



                                                       VII.E-36
12-12020-mg         Doc 3698-24         Filed 05/13/13 Entered 05/13/13 17:08:13                      Section VII
                                              E Pg 37 of 43




 transaction occurred.225 The “continuing wrong” doctrine must be applied to preserve a
 fiduciary duty claim that definitively accrued as early as May 4, 2006, yet applicability of the
 doctrine is uncertain in light of limited case law.

       However, it is more likely that a fiduciary duty claim accrued after May 4, 2006, when
 the possible harm caused by the potential breach of duty occurred. Arguably there was no
 actual injury until the ResCap Board approved the 2006 Bank Restructuring on November 20,
 2006. Further, even if possible injury was caused as early as when the approval applications
 tied to the proposed transaction were submitted to the regulatory authorities on May 19,
 2006,226 the related fiduciary duty claim would still be timely if given the benefit of a six-year
 limitations period. It is likely that a claim for breach of fiduciary duty accrued at some point
 after May 14, 2006 when injury arguably occurred.

      Overall, a claim for breach of fiduciary duty relating to the 2006 Bank Restructuring
 would have to overcome several impediments to be deemed timely. Although a close question,
 the Examiner concludes it is more likely than not that a fiduciary duty claim could not
 successfully trigger application of a six-year limitations period, which would be necessary to
 preserve the timeliness of the claim.

                   (3) Proof Of Harm Resulting From A Potential Breach Of Fiduciary Duty May
                       Be Uncertain

      Although proof of damages is likely not required to demonstrate that the duty of loyalty
 has been breached, as stringent requirements are loosened in connection with a duty of loyalty
 breach,227 nevertheless to earn a monetary recovery a claim based on a breach of fiduciary
 duty must ultimately show some accompanying harm. Even assuming that the inside
 fiduciaries owed an enforceable duty of loyalty to ResCap, which they breached in failing to
 disclose the withheld information to the Independent Directors, and that any related fiduciary
 duty claim could be deemed timely under a six-year limitations period, there is a threshold
 question of whether any harm to ResCap actually resulted from the possible breach.228

      There is some uncertainty regarding whether the concealment of information from the
 Independent Directors relating to ResCap obtaining a voting interest in the restructured bank
 ultimately made any difference regarding the transaction that the ResCap Board approved.
 That is, the Independent Directors may possibly have approved the 2006 Bank Restructuring


 225 See generally Section V.A.1.

 226 See id.

 227 See Section VII.E.1.b(2)(a).

 228 Because it is unlikely that a viable legal argument could be advanced that the duty of loyalty was owed by the

    inside fiduciaries directly to the Independent Directors rather than to ResCap (if a duty was owed to ResCap at
    all), it is similarly unlikely that any possible injury to the Independent Directors would be relevant to a
    potential claim. In any event, to date the Independent Directors arguably have suffered no harm as a result of
    the possible breach.

                                                     VII.E-37
12-12020-mg         Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                       Section VII
                                               E Pg 38 of 43




 on the same terms as those agreed to even had they been provided with the concealed
 information. Jacob and Melzer stated that they conceived of the 2006 Bank Restructuring as a
 prerequisite for consummation of the Cerberus transaction, which they deemed beneficial to
 AFI and ResCap, and believed that ResCap received “fair value” in the transaction on the
 terms they approved.229

      Nevertheless, the Examiner concludes that evidence supports the proposition that had
 Jacob and Melzer known that the option of ResCap obtaining a voting interest in the
 restructured bank was a viable or, at least, a negotiable term, they could—and likely would—
 have exploited that leverage to extract better terms for ResCap in the transaction.230 At
 minimum, armed with the knowledge that a voting interest in the restructured bank was a
 negotiable transaction term, the Independent Directors could have sought to make up the
 shortfall in the value that ResCap received in compensation for relinquishing control of the
 bank. Potential damages on a fiduciary duty claim, reflecting harm to ResCap resulting from
 the possible breach, are (depending on the damages theory) $390–$465 million (FMV
 shortfall) or $533–$688 million (difference in value of equity interests transferred and
 received by ResCap).231

                   (4) ResCap’s Independent Directors Likely Did Not Breach Their Fiduciary
                       Duties Of Care

      Independent Directors Jacob and Melzer arguably breached their fiduciary duties of care
 in failing to exercise more thorough diligence regarding the 2006 Bank Restructuring. As
 noted above, the list of questions regarding the proposed transaction that Schenk sent to
 Marple on behalf of the Independent Directors did not technically solicit a response regarding
 the voting rights issue. At no time did the Independent Directors or their counsel at Bryan
 Cave, despite having considered the voting rights issue (as confirmed in Schenk’s list of
 questions to Marple), actually ask anyone at ResCap whether ResCap could obtain a voting
 interest in the restructured bank. Had the Independent Directors or their counsel posed that
 question to ResCap managers, the withheld information regarding the voting rights issue may
 well have been exposed to them. Additionally, the Independent Directors commissioned no
 valuation of, or fairness opinion regarding, the interests in the restructured bank that they were
 receiving or relinquishing, which may call into question the informed basis upon which they
 approved the 2006 Bank Restructuring as being at arm’s length and for fair value under the
 2006 Amended Operating Agreement.



 229 See Int. of T. Jacob, Apr. 17, 2013, at 76:1–5; 77:9–19; 81:12–25; Int. of T. Melzer, Mar. 22, 2013, at 80:6–7;

    82:14-15; see also Int. of E. Schenk, Apr. 24, 2013, at 67:14–16; 68:4–10; 77:14–23; 78:21–79:14; 82:11–15;
    see Section VII.L (discussing facts relevant to the post-hoc assessment of the significance of the concealed
    information).
 230 See Sections IV.A.1, IV.A.2, V.A.1, VII.L.1 (discussing independence of Jacob and Melzer in other contexts,

    particularly with respect to proposed affiliate transactions in 2008 preceding their simultaneous resignations).
 231 See Section V.A.2.b, Appendix V.A.2—4 (discussion of these damages calculations).



                                                      VII.E-38
12-12020-mg          Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                    Section VII
                                                E Pg 39 of 43




      Yet the Examiner concludes it is unlikely that a claim against the Independent Directors
 for breach of the duty of care would prevail. Jacob and Melzer relied on the advice of counsel
 in assessing the proposed transaction, as well as on the candor of their ResCap co-fiduciaries.
 They performed certain—even if less than optimal—due diligence regarding the proposed
 transaction. In any event, any such breach of the duty of care would be exculpated under
 ResCap’s charter.232

               b. Potential Breach Of Fiduciary Duty Claims Relating To Prepetition Asset Sales

      While as many as three Prepetition Asset Sales (most notably the Health Capital Sale in
 August 2007) arguably occurred in a hurried manner, with negotiations and closings taking
 place on an accelerated schedule,233 the Examiner concludes it is unlikely that any claim for
 breach of fiduciary duty with respect to the Prepetition Asset Sales would prevail. There is no
 indication in connection with any of the Prepetition Asset Sales that ResCap’s fiduciaries
 lacked adequate information upon which to make an informed decision to sell on the proposed
 terms.

       If anything, the speed at which Prepetition Asset Sales occurred likely benefited ResCap.
 The Health Capital Sale is illustrative. The purchase agreement contained a one-way true-up
 provision, requiring GMAC CF to pay to ResCap the difference between the earnest money
 deposit and a third-party valuation of the business. Because a premium was placed on
 providing ResCap with liquidity in short order, AFI was willing to deposit $775 million in
 earnest money without a signed purchase agreement and without a true-down provision in the
 final agreement. AFI agreed to a transaction structure that ensured that ResCap could keep the
 earnest money and potentially gain the benefit of an upward valuation adjustment, which
 could inure only to ResCap’s benefit. The transaction structure and pace were therefore in
 ResCap’s favor.

      There is also no indication that ResCap’s directors and officers disregarded corporate
 formalities with respect to any of the Prepetition Asset Sales. ResCap board minutes make
 clear that ResCap’s directors and officers understood that they were obligated to obtain a fair
 price for each Prepetition Asset Sale, and to ensure that transaction terms overall were at least
 as beneficial to ResCap as those that might be available from an unrelated party. There is no
 evidence indicating that the ResCap Board acted in an unreasonable or uninformed fashion in
 concluding that each particular transaction met the required criteria. The documentary record
 (ResCap board minutes in particular) reflects that the Board routinely took steps to ensure
 compliance with pertinent requirements in the 2006 Amended Operating Agreement. Each
 Prepetition Asset Sale had a legitimate business reason—to improve ResCap’s liquidity
 position—rendering each asset sale reasonable and justifiable in context.

      Further, even assuming arguendo that ResCap fiduciaries breached duties with respect to
 asset sales that were negotiated and closed quickly, ResCap was not harmed in the process.
 232 See generally Section IV.B.

 233 See Section V.F (discussing pertinent facts related to the various related-party asset sales).



                                                       VII.E-39
12-12020-mg         Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                        Section VII
                                               E Pg 40 of 43




 ResCap received fair value with respect to each of these transactions.234 Here, too, the Health
 Capital Sale is illustrative. The record suggests that if ResCap had not sold the business to
 GMAC CF in August 2007, ResCap may have been unable to provide this business with the
 continued financing necessary for the business to preserve value going forward, potentially
 resulting in an appreciable loss of value if Health Capital were sold at a later time.
               c. Potential Breach Of Fiduciary Duty Claims Relating To The January 30 Letter
                  Agreement, $48.4 million Prepetition Indemnity Payment, And A&R Servicing
                  Agreement
      The Investigation considered whether potential claims may exist for breaches of fiduciary
 duties relating to the January 30 Letter Agreement, a related $48.4 million prepetition
 indemnity payment to Ally Bank, and the A&R Servicing Agreement.235 The Examiner
 concludes it is unlikely that such claims for breaches of fiduciary duties would prevail,
 although potential claims related to the prepetition indemnity payment are a close question.
      Fiduciary duty claims relating to the January 30 Letter Agreement likely would not
 prevail. The January 30 Letter Agreement was the product of extensive negotiations involving
 sophisticated counsel for parties on both sides.236 The agreement provided fair value to both
 ResCap and GMAC Mortgage, as it effectively required AFI to pay government fines through
 forgiveness of ResCap debt, to make additional capital contributions as might be needed, and
 to waive defaults under existing loan arrangements.238 This allowed ResCap and GMAC
 Mortgage to continue to operate as going concerns in light of impending government
 penalties.239 The ResCap Board considered the terms of the January 30 Letter Agreement at
 two separate meetings, with the Board, including three of the four Independent Directors,
 approving the agreement prior to its execution.240 The evidence supports the proposition that
 the relevant ResCap fiduciaries negotiated the best possible deal for ResCap in what they
 viewed as a contentious situation.241
 234 See Section V.F.

 235 See Section V.C (discussing the facts relevant to these various issues and potential fiduciary duty claims).

 236 See Section V.C.2.a(3) (discussing these negotiations).

 237 See Section V.C.2 (detailing GMAC Mortgage’s receipt of reasonably equivalent value with respect to the

    January 30 Letter Agreement and A&R Servicing Agreement transactions).
 238 See January 30 Letter Agreement [ALLY_0194817].

 239 Int. of S. Abreu, Jan. 22, 2013, at 370:4–22; Dep. of J. Whitlinger, Aug. 3, 2012, at 52:14–53:17 (if “ResCap

    didn’t have the funds available” from AFI pursuant to the January 30 Letter Agreement, ResCap and GMAC
    Mortgage could not have entered into the DOJ/AG Settlement as they lacked the requisite net worth or
    liquidity.).
 240 Minutes of a Special Meeting of the Board of Residential Capital, LLC, Jan. 30, 2012, at RC40019197
    [RC40019179]. Independent Director Ilany was absent from the January 30, 2012 special meeting for
    unidentified reasons.
 241 Int. of T. Marano, Feb. 27, 2013, at 70:18–20 (“[T]his is like every agreement was [sic] extremely contentious

    between us and [AFI] . . . .”); see E-mail from P. West to J. Whitlinger (Jan. 31, 2012) [EXAM10345463]
    (West thought that the end result was “Great. Looks like we got most of what we wanted. Good work.”). See
    generally Section V.C.2.a(3).

                                                      VII.E-40
12-12020-mg         Doc 3698-24          Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                               E Pg 41 of 43




       The Examiner concludes that, while a close question, it is more likely than not that
 fiduciary duty claims relating to prepetition payment by ResCap to Ally Bank of $48.4 million
 for certain indemnification obligations would not prevail. The claims would be based on
 improper authorization by ResCap fiduciary Marano, in the absence of ResCap or GMAC
 Mortgage board approval, of a prepetition payment that would likely be subject later to
 challenge as an avoidable preference in the wake of ResCap’s imminent bankruptcy filing. Yet
 the terms of the payment were negotiated at arm’s length,242 and the payment was due to Ally
 Bank pursuant to the January 30 Letter Agreement.243 Although it may be a close question,
 payment of that debt, even without board consideration, was likely a reasonable exercise of
 the ResCap and GMAC Mortgage fiduciaries’ business judgment, particularly in light of those
 entities’ ongoing obligations. Additionally, evidence indicates that while GMAC Mortgage
 was contractually obligated to make the payment, Ally Bank also considered this payment a
 prerequisite for Ally Bank’s entry into the A&R Servicing Agreement, which ResCap and
 GMAC Mortgage viewed as valuable.244 The prepetition indemnity payment, made pursuant
 to an existing agreement between the parties, arguably helped ensure AFI’s and Ally Bank’s
 continued support leading up to ResCap’s bankruptcy filing.

      Potential fiduciary duty claims relating to the A&R Servicing Agreement likely would
 not prevail. The A&R Servicing Agreement was also the product of extensive, arm’s-length
 negotiations that took place over the course of several months, with sophisticated counsel
 representing both parties.245 Entry into the A&R Servicing Agreement was seen as critical to
 the preservation of GMAC Mortgage’s servicing platform, which was ultimately the subject of
 a favorable postpetition disposition that benefited the Debtors’ estate.246 Although, as with the
 $48.4 million prepetition indemnity payment, there was no related approval by the GMAC
 Mortgage board of directors, the transaction would likely be considered by a court to be at
 arm’s length and for fair value, and thus a claim would be unlikely to prevail.
 242 In connection with the payment, Ally Bank stated that a failure to make the payment would constitute a breach

    under the January 30 Letter Agreement, which would have serious consequences. See E-mail from B. Yastine
    to T. Marano (May 8, 2012) [RC40027250]. During the course of negotiations, Marano did what he could to
    further the interests of ResCap and GMAC Mortgage. See E-mail from T. Marano to J. Pensabene (May 8,
    2012) [RC40032271] (“I will not be bullied. We will honor our specific contractual obligations and advise
    them professionally of what they need to do to protect their and our interests.”).
 243 While the January 30 Letter Agreement did not expressly require the payment, subsequent written
    correspondence between the parties evidences their intent regarding the loan modifications and related
    indemnification obligations. Both February 9, 2012 e-mail correspondence and a May 11, 2012 agreement
    between the parties set forth the parties’ understanding regarding the requirement to indemnify Ally Bank for
    modifications to loans in its portfolio. This agreement was also embedded in the A&R Servicing Agreement.
    See Sections V.C.2.a (2), V.C.2.e.
 244 SeeSection V.C.2.e (discussing the negotiations surrounding the $48.4 million prepetition indemnity
    payment).
 245 See Section V.C.2.d. (discussing a more detailed recitation of these negotiations).

 246 See Int. of J. Pensabene, Jan. 9, 2013, at 245:5–12 (“If we lost rights to service one-third of our overall

    portfolio and . . . even more as it relates to just the value of the portfolio then the auction of the business
    would not have been nearly as successful as it turned out to be. The value of the platform would have been
    diminished drastically.”).

                                                      VII.E-41
12-12020-mg         Doc 3698-24            Filed 05/13/13 Entered 05/13/13 17:08:13                     Section VII
                                                 E Pg 42 of 43




              d. Potential Breach Of Fiduciary Duty Claims Relating To The Work Of The
                 Special Review Committee And ResCap Board Regarding Approval Of The AFI
                 And RMBS Trust Settlements

      The Investigation considered potential claims that might exist for breaches of fiduciary
 duties relating to approval by the ResCap Board of the (1) AFI Settlement and Plan Sponsor
 Agreement (which is now terminated) and (2) RMBS Trust Settlement Agreements. The work
 of the Special Review Committee of the ResCap Board, comprised of “super” Independent
 Directors Ilany and Mack, is particularly implicated by the ResCap Board’s approval of the
 AFI Settlement and Plan Sponsor Agreement. The processes underlying the Board’s approval
 of the AFI Settlement were flawed and are open to criticism. Despite the apparent
 deficiencies, no viable claims likely exist for breaches of fiduciary duties connected to those
 ResCap Board approval processes.

                   (1) AFI Settlement And Plan Sponsor Agreement

      Although the performance of the Independent Directors who comprised the Special
 Review Committee responsible for the claims investigation that led to the now-terminated AFI
 Settlement and Plan Sponsor Agreement was incomplete, tainted by certain conflicts of its
 counsel247 and otherwise defective, those deficiencies do not rise to the level of a breach of
 fiduciary duties. The ResCap Board reasonably approved the settlement and related agreement
 based on the investigation of its legal counsel, even if the input of the Special Review
 Committee was virtually nonexistent.248 The disinterestedness of Independent Directors Ilany
 and Mack cannot be seriously challenged.

      The work of Ilany and Mack on the Special Review Committee was not marked by any
 particular diligence, or even conformity with the express terms of the ResCap Board
 resolutions that authorized their efforts. However, although a close question, their efforts on
 the Special Review Committee more likely than not did not violate their fiduciary duties. Ilany
 and Mack relied heavily on the advice of legal counsel in assessing the value of the claims to
 be settled, and believed in good faith that they had secured a favorable settlement for ResCap
 and its creditors. Based on the investigation that Morrison & Foerster conducted, the ResCap
 Board concluded that the AFI settlement was a reasonable resolution of complex and
 challenging litigation claims. The Special Review Committee and ResCap Board were entitled
 to delegate responsibility to their legal counsel for assessing the value of those litigation
 claims, and to rely on that expertise. The conclusions of the ResCap Board are entitled to the
 protection of the business judgment rule, and there is no credible basis to rebut the
 presumption that the ResCap Board and the Independent Directors upheld their fiduciary
 duties in the process of approving the settlement.


 247 See Sections III.J.1.c(6), III.J.3.g(1) (discussing conflicts related to Morrison & Foerster’s investigation of

    potential legal claims against AFI).
 248 See Sections III.J.3.g, IV.A.5 (discussing facts related to the flawed process leading to the AFI Settlement and

    Plan Sponsor Agreement and underlying the work of the Special Review Committee).

                                                     VII.E-42
12-12020-mg       Doc 3698-24       Filed 05/13/13 Entered 05/13/13 17:08:13               Section VII
                                          E Pg 43 of 43




                 (2) RMBS Trust Settlement Agreements

       The process that led to the RMBS Trust Settlement Agreements was also not a model of
 optimal board decision-making. The ResCap Board approved the settlement of momentous
 litigation claims within a highly condensed timeframe and based on imperfect expert advice.

      Yet while the May 9, 2012 advisor presentation to the ResCap Board upon which the
 decision to approve the settlement may have been flawed, the Examiner does not believe such
 flaws undermine the conclusion that settlement negotiations were conducted at arm’s
 length.249 The settlement agreement was negotiated primarily by ResCap’s outside counsel,
 upon whom the ResCap Board was entitled to rely to conduct negotiations competently and
 effectively. Although the comparative data points included in the May 9, 2012 presentation
 potentially misled or confused the ResCap Board, the Examiner concludes that, while a close
 question, it is more likely than not that breach of fiduciary duty claims related to approval of
 the RMBS Trust Settlement Agreements would not prevail. That the ResCap Board may have
 approved the settlement on a basis other than a pure assessment of the claims’ legal merits is
 not dispositive. The ResCap Board acted on a sufficiently informed basis, in good faith, and
 with an honest and reasonable belief that the settlement of major claims—perceived by the
 Board as facilitating the efficacy of ResCap’s imminent bankruptcy filing through eliminating
 an obstacle to sale of ResCap’s assets—was in the best interests of ResCap and its creditors.




 249 SeeSection III.J.4.h (discussing facts related to the process leading to the RMBS Trust Settlement
    Agreements).

                                               VII.E-43
